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                    EXHIBIT E
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                                                                           Page 1
    ~~




          1                   IN THE UNITED STATES DISTRICT COURT

          2                  FOR THE SOUTHERN DISTRICT OF NEW YORK

          3

          4       BLOCKCHAIN TECHNOLOGIES

          5       CORPORATION,

          6                   Plaintiff /

          7                    Counterclaim Defendant,               Case No.

          8               against                                    1:18-cv-

          9       RVH INC. and ROBERT HERSKOWITZ,                    09352-AJN

         10                   Defendants /

         11                   Counterclaim Plaintiffs.

         12
~   rF
         13       RVH INC. and ROBERT HERSKOWITZ,

         14                   Third-Party Plaintiffs,

         15               against

         16       NIKOLAOS SPANOS a/k/a NICK SPANOS

         17       and THE SYNAPSE FOUNDATION d/b/a

         18       ZAP.ORG,

         19                   Third-Party Defendants.

         20

         21                      DEPOSITION OF NIKOLAOS SPANOS

         22       DATE:             Monday, March 9, 2020

         23       TIME:             10:28 a.m.

         24

    ti   25

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                                             Page 2                                                            Page 4
 1 DATE:               Monday,March 9,2020             1                    INDEX
 2 'TIME:             10:28  a.m.                      2    EXAMINATIQN:                                         PAGE
 3 LOCATION: Foster Garvey PC                          3       By Mr. Heller.                               7
 ~..~..+.~.,.~» .1.0.0 ,Wa11:Street,,20th.Floor , ~    4             ,~,,,,~.,~,,,..,.,,,,N,,,,,,,,,,,.hv
 5               New York, NY 10005-3708               5                EXHIBIT S
 6 REPORTED BY: Kenneth Katz, Notary Publi             6    NO.         DESCRIPTIO                N              PAGE
 7 JOB No.: ~ 4019160                            ~     7    Exhibit A Zap.org Website                   Printout  21
 8                                                     8    Exhibit B Blockchain Bill                          81
 9                                                     9    Exhibit C Photograph                              101
10                                             ~      10
11                                                    11             (E~chibits retained by counsel.)
12                                                    12
13_.                                                  13
14                                                    14
15                                                    15
16                                                    16
17                                                    17
18                                                    18
19                                                    19
20                                                    20
21                                                    21
22                                                    22
23                                                    23
24                                                    24
25                                                    25
                                             Page 3                                                            Page 5
 1            APPEARANCES                              i                  N.SPANOS
 2   ON BEHALF OF DEFENDANTS:                          2             COURT REPORTER: Good morning. My name
 3     ALAN HEELER,ESQUIRE                             3   is Kenneth Katz; I am the reporter assigned by
 4     Foster Garvey PC                                4   Veritext to take the record ofthis proceeding. I am
 5     100 Wall Street, 20th Floor                     5   a notary authorized to take acknowledgements and
 6     New York, NY I0005-3708 -                       6   administer oaths in NewYork. We are now on the
 7     alan.heller@foster.com                          7 record.
 8    (212)965-4526                                    8          This is the deposition of Nikolaos
 9                                                     9 Spanos taken in the matter of Blockchain Technologies
10 ON BEHALF OF NIKOLAOS SPANOS:                      10 Corporation, Plaintiff/Counterclaim Defendant against
11     PETER GINSBURG,ESQUIRE                         11 RVH Inc. and Robert Herskowitz,
12   Sullivan &Worcester LLP                          12 Defendants/Counterclaim Plaintiffs; RVH Inc. and
13   1633 Broadway,32nd Floor                         13 Robert Herskowitz, Third-Party Plaintiffs against
14   New  York, NY 10019                              14 Nikolaos Spanos a/k/a Nick Spanos and The Synapse
15   pginsberg@sull ivanlaw.CO1T1                     15 Foundation d/b/a ZAP.org, Third-Party Defendants at
16   (212)660-3059                                    16 10:28 a.m. on Monday, March 9,2020 at Foster Garvey
17                                                    17 PC, 100 Wall Street, 20th Floor, New York, New York
18                                                    18   10005.
19 ALSO PRESENT:                                      19             Absent an objection on the record
20   Robert Herskowitz          ~                     20   before the witness is sworn, all parties and the
21                                                    21   witness understand and agree that any certified
22                                                    22   transcript produced from this recording ofthis
23                                                    23   proceeding:
24                                                    24           - is intended for all uses permitted
25                                                    25            under applicable procedural and

                                                                                                    2(Pages 2 - 5)
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                                                          Page 6                                                             Page 8
 1                  N. SPANOS                                       1                :~I. SPAI~tQS
                                                                                                                                         /~'._.•1
 2            evidentiary rules and laws in the same                2        Please answer all questions with a verbal
 3            manner as a deposition recorded by                    3 response. Ttie court -- well now it's not- a
 4            stenographic means; and                               4 stenographer. Now it is a recording will not take a
 5            -shall constitute written stipulation                 5 nod or a grunt. It needs a verbal response.
 6            ofsuch.                                               6        And please,I have to assume that at vazious
 7            At this time will everyone in                         7 times during the deposition, you will anticipate the
 8 attendance or appeating.remotely please identify                 8 answer before I complete my question. But in order
 9--}ourselffor-the-record;begiruiing-from my-right.       -        9 for-~►e-to get the record straight; I'm going to-ask
10            THE WITNESS: Nikolaus Spanos.                        10 you to please, to the best of your ability, wait for
11            MR.GINSBERG: Peter R: Ginsberg.                      11 me to finish my question before you answer it.
12            NIR. HELLERi Alan Heller.                            12        And also I'm jusf --Itake-this seriously.
13            COURT REPORTER: Thank you. Hearing no                13 AndIknow this may not be taken seriously. There are
14 objection, I will now swear in the witness.                     14 certain things that aze a little distracting. Please
15 WHEREUPON,                                                      15 try your best to take this seriously. And Mr.
16               NIKOLAOS SPANOS,                                  16 Herskowitz just walked into this room. So we're just
17 called as a witness, and havittg been first duly sworn          17 about ready-to start. Off the record.
18 to tell the truth, the whole huth and nothing but the           18           COURT REPORTER: Okay. Just one
19 .truth, was examined-and testified as follows:                  19 second. The time now is 10:32 a.m.                   T
20            COURT REPORTER: Please begin.                        20           (Offthe record.)
21            MR.I~LLER: Okay. Let's go offthe                     21           COURT REPORTER: We're back on the
22 record. Do you want Mr. Spanos --                               22 record. The time now is 10:33 a.m.
23            COURT REPORTER: Just one -- well;we                  23 BY MR. HEELER:
24 have --                                                         24     Q Okay. Mr. Spanos, aze you familiar with an
25            MR.HEELER: Offthe record.                            25 entity by the name ofZap.org?
                                                                                                                                         J,
                                                         Page.                                                                  Page 9
 1                 N. SPANOS                                        1                 N. SPANOS
                                                                    2                  ~~._.._,.~ _... a ._,. _ ~_ __,~_.~. -. ~- -
 2 ~          COiJRT~REPORTER 'Okay. We'regoing ofd'                     A..-Enfity?
 3 the record. The time now is 10:29 a.m:                           3    Q Are you familiaz with Zap.org?
 4           (Offthe record:)                                       4    A Yes.
 5            COURT REPORTER: We're back on the                     5    Q What is Zap.org?
 6 record. The tube now is 10:30 a.m.                               6    A It's a domain name.
 7                EXAMINATION                                       7    Q Who owns Zapiorg, the domain name?
 8 BY MR.I~LLER:                                                    8    A The foundation.
 9     Q Mr. Spanos, my Warne is Alan Heller. I'm                   9    Q And what's the name of the foundation?
10 from the firm Foster Garvey. I represent the                    i0    A Synapse'Foundation: '
11 defendants and the counterclaim plaintiffs andthird-            11    Q When did the Synapse Foundation begin
12 party plaintiffs im.this action.                                12 ownership ofZap.org?
13        I'm going to ask youa bunch o£questions in               13           3 MR: `GINSBERG: If you`know.
la connection with the court order that was issued"                14             THE WITNESS: Idon't'remember exactly.
15 permitting me to take the limited deposition of you in          15 Idon't know.
16 connection with jurisdiction over Zap.org. And if you           16 BY MR. HEELER:
17 do not understand-the question, please.tell me that             17    Q Approximately? Do you know how many years
18 you do not understand. I do not want you to answer a            18 ago?
19 question that you don't understand. And then I'll try           19    A Idon't remember.
20 to rephrase it.                                                 20    Q Was it before or after -- aze you familiar
21        If Yor-any reason your aftorney objects to               21 with Tv1r. Herskowitz?
22 my question, please wait for him to state the                   22    A Yeah.
23 objection on the record and either I or your attorney           23    Q Was it before or after you met Mr.
24 will let you know whether or not you should answer the          24 Herskowitz?
25 question that is posed.                                         25    A After.

                                                                                                                  3 (Pages 6 - 9)
- -._..- - - _   --              _       _--- —~leritext Legal Solutions __
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                                                      Page 10                                                      Page 12
  1              N. SPANOS                                       1                  N. SPANOS         ,
 2     Q How long after you met Mr. Herskowitz did               2   take credit for.
 3 you --                                                        3      Q What would you take credit for? What did
 4     A Oh,I dontt Irnow:.I really don't. I don't               4   you do that you think.:- what.do you think you did in
 5 know. I don't remember exactly, you know, what year           5   connection with Zap.org, whether or not you take
 6 it was because it was changes. I don't remember. I            6   credit for it?
 7 don't remember.                                               7      A I'd like to believe that I gave good
 8     Q Who were the owners ofthe Synapse                       8   insight.
 9 Foundation?                                                   9      Q Has anyone ever objected to your placement
10     A I think don't think -- I don't think there             10   ofthe word cofounder ofZap.org on your LinkedIn
1 1 are owners. I think it's board members.                     11   page?
12     Q What is your role with Zap.org?                        12      A I don't run my LinkedIn page. So frankly I
13     A I'm on the board.                                      13   didn't even know it was there.
14     Q Do you have any other relationship with                14      Q Have you ever held yourself out as a
15  Zap.org?                                                    15   cofounder ofZap.org?
16     A No. There's no -- I'm sorry. Can I go                  16      A Yeah.
17 back?                                                        17      Q Okay. Has anyone ever objected to your
18           MR. GINSBERG: Sure.                                18   holding yourself out as a cofounder ofZap.org?
19           THE WITNESS: I'm not on the board of               19      A DaI have to answer that? There might have
20 Zap.org.                                                     20   been a few probably maybe.
21 BY MR.HEELER:                                                21      Q Okay. Who objected to that?
22     Q You're on the board ofthe Synapse                      22      A I don't remember.
23 Foundation?                                                  23      Q Other than good insight, what else did you
24    A Yes.                                                    24   do for Zap.org when it was founded?
25    Q Who else is on the board ofthe Synapse                  25      A You know,like I was looked at as a good
                                                      Page 11                                                      Page 13
  1               N. SPANOS                                      1               N.SPANOS
 2 Foundation?                                                   2 resource.
 3     A Iorgos Clufetos. There's a Danish guy. I                3     Q By whom?
 4 don't know his name.                                          4     A By members of -- oh,I'm sorry. Is that
 5     Q You're currently --                                     5 okay? Members ofthe board and, you know, people that
 6     A I can't -- I don't know the name.                       6 were involved.
 7     Q -- on the board, correct?                               7     Q Okay. Let's start with members ofthe board
 8     A Yeah.                                                   8 and then people who were involved. At the time
 9     Q Okay. At the time the Synapse Foundation                9 Zap.org was formed, who were the members ofthe board
10 was founded, was organized, who was on the board             10 of Synapse Foundation?
1 1 the Synapse Foundation?                                     11     A I don't remember. There were -- I don't
12     A I don't remember.                                      12 remember.
13     Q Was there a particular individual who came             13     Q Okay. Is there anything that would --
14 up with the idea zap.org?                                    14           MR. GINSBERG: Do you remember anyone?
15     A I don't remember.                                      15           THE WITNESS: Huh?
16     Q Did you play a role in the creation of                 16           MR. GINSBERG: Do you remember anyone?
17 zap.org?                                                     17           THE WITNESS: I gave him names. I
18     A I'd like to believe so.                                18 don't remember. WhaYs the question again?
19     Q Okay. Let the record reflect that your                 19 BY MR.IIELLER:
20 LinkedIn webpage says that you're a founder of               20     Q At the time ofthe formation of Zap.org, who
21 zap.org. Is that correct?                                    21 were the members ofthe board ofthe Synapse
22     A Well, cofounder maybe.                                 22 Foundation?
23     Q Okay. And as a cofounder of zap.org, what              23     A I gave you the names. I gave you Clufetos.
24 did you do?                                                  24 I don't remember the -
25     A With people -- I'm not sure what I could               25    Q Are you able to spell the name?

                                                                                                     4(Pages 10 - 13)
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                                                   Page 14                                                             Page 16
  1               N. SPANOS                                    1              N.SPANOS
  2      A Not really.                                         2           MR.I~LLER: -- there was a board
  3      Q How many members of the board were there?    3 meeting on Synapse Foundation when Zap was formed. He
  4      A I don't remember.                            4 did say there was a board meeting.
  5      Q Was it more than two? Because you said two, 5            MR. GINSBERG: I think your question
  6   you and this Clufetos.                            6 was after Zap.org was formed, not when it was formed.
  7      A Yeah. Yeah. More than two.                   7 I think the testimony was that when it was formed,
  8      Q Was there a third person?                    8 there wasn't. I may be wrong. But that was my
  9      A.~ At least.                                  9 understanding of his testimony.
 10      Q -Okay. Have you ever had a board meeting of 10           MR.HEELER: You may be wrong. But one
 11   the Synapse Foundation?                          11 second. Please stop.
 12      A Yeah. We had a -- yes.                      12           THE WITNESS: I'm sorry. I'm sorry.
 13    Q Okay. Did you have a board meeting at the           13 BY MR. HEELER:
 14 time Zap.org was formed?                                 14   Q Was the Synapse Foundation formed at the
 15     A No.                                                15 same time ofthe creation ofZap.org?
 16     Q Since Zap --                                       16   A No.
 17     A Zap -- yeah.                                       17   Q Was the Synapse Foundation formed after the
 18    Q •Since Zap.org was formed -- at the time the  18 creation ofZap.org?
 19 Synapse Foundation created Zap.org, did you have a 19    A No.                                                 -
 20 board meeting?                                           20    Q Okay. Other than Zap.org, does the Synapse
 21    A Yeah. I think so.. Yeah.                            21 Foundation have any other assets?
 22     Q   Okay. Were minutes taken ofthe board             22     A I don't know.
 23 meeting?                                                 23    Q When you said you were a cofounder ofthe
 24    A I don't know.                                       24 Synapse Foundation -- or sorry. Strike that. You
 25    Q Well, who took the minutes? Who was                 25 said you're the cofounder ofZap.org. Who were the
                                                  Page 15                                                            Page 17 ~
     1               N. SPANOS                                 1               N. SPANOS
    2 responsible for taking minutes of-the board meeting     2 other cofoun8eis7
     3 Zap.org for the Synapse Foundation?                    3     A I don't know. I don't remember because
    4     A I don't know. There was -- I don't know.          4 whatever, because people just, you know, hype
    5     Q Where were you when the board meeting tool        5 themselves up. I don't know. I don't remember.
    6 place?                                                  6     Q Okay. So I'm going to ask you about an
    7     A I don't remember. I was --                        7 individual by the name ofBen Young. Is Ben Young a
    8     Q Were you in this country?                         8 cofounder ofZap.org?
    9     A I was on the phone.                               9     A No.
   10     Q It was on the phone. Were you on the phone       10     Q In Nick Allen a cofounder ofZap.org?
   1 1 in New York?                                          11     A No.
   12     A I don't remember that. I'd like to               12     Q Who are the people that hyped themselves up
   13 remember.                                              13 as being cofounders ofZap.org?
   14     Q Okay. After that, the board meeting, --          14           MR. GINSBERG: Objection as to form.
 i IS     A I was on the --                                  15           THE WITNESS: I don't know.
 ~ 16     Q -- that took place when Synapse formed           16 BY MR. HEELER:
!i 17 Zap.org --                                             l7     Q Well, you said other people hyped themselves
   18     A I don't know if it was on the phone or on        18 up. Who are those people?
   19 the Google.                                            19     A In general, people hyped themselves up and
   20           MR.GINSBERG: Objection. His                  20 give themselves titles as cofounder and all kinds of
   21 testimony was that wasn't the board meeting when       2l stuff.
   22 Zap.org was formed.                                    22    Q Okay.
   23           MR.HEELER: He said -- he said the --         23    A There's like a hundred Ethereum cofounders
   24           THE WITNESS: There was no Zap. ;             24 and founders. So it's just -- I think it's a
   25 wasn't on the --                                       25 practice. I don't know what it is.

                                                                                                      5 (Pages 14 - 17)
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                                                      Page 18                                                          Page 20
 1                 N.SPANOS                                      1                 N. SPANOS
 2      Q Okay. So who doyou'recognize as a                      2 you?                                      ••
 3   cofounder ofZap.org other than you?                         3            MR. GINSBERG: In the what? I didn't
 4      A I don't:know what:iGmaans,~eofounde~.~ ~•              4 understand your question.: :, ...~ .. .., x ,.,. :.,.._ ,
 5      Q You mentioned previously during testimony              5 BY MR. HEELER:
 6   that you believed yqu.were a cofounder ofZap.org. So        6     Q My question was who was around inthe
 7   what in your mind --               ~                        7 beginning ofZap.org other than Mr. Spanos.
 S      A Yeah. I mean, it's a feeling.                          8     A There's a guy who has a company:in Poland.
 9      Q Let me finish the question.                            9I  don't really remember his name. It's a weird name.
10      A Yeah. I'm sorry.                                      10 There's a Danish guy who I don't really remember. And
11      Q Whatin your mind do~you understand a                  11 even ifI had his name in front of me,I couldn't read
12   cofounder to be? ~ ~                                       12 it because it'sjust weird. And I don't know.
13      A - That's.a good.question..Is:that to.form7            13.. Q .Was Ben Young around in the. beginning? ,
14             MR.GINSBERG:-That's okay.                        14     A Ben Young was around.- But there were, you
15             THE WITNESS: It's fine. I never did              IS know,a bunch of people. Community members. So was
16   this before. I think 1 saw it in'a movie. Someone          1f he a community member? You know,the nature ofthis
17   that was around in the beginning.                          17 is looser than let's say like this law firm or a
18   BY MR.HEELER:                                              18 company. IPs much looser,.these decentralized
19      Q And you used the.term cofounder. So were              19 characters. You know what I mean?
20   there other people who were around in the beginning?       20     Q Not really. Please explain.
21      A Yeah.                                                 21     A It'sjust looser. It'sjust looser.
22      Q Who?                                                  22 There's no organizational chart or maybe there is
23      A I don't want to screw this up. I don't know           23 another. Just that was a loose thing.
24   who's self-identifying as cofounder. And --                24     Q Have you ever looked at the Zap.org website?
25      Q I'm not asking who's self-identifies.                 25     A Yeah. I don't like it.
                                                      Page 19                                                         Page 21
 1                N.SPANOS                                       1                  N.SPANOS
 2           MR.GINSBERG: Let him finish please,                 2            MIt. HEELER: Let's mazk this.
 3 Mr. Heller.                                                   3            COURT REPORTER: How do you want to
 4           THE WITNESS: I'm just saying the                    4 mark it?
 5 reason why I'm hesitating the answer is hesitant in           5            MR.HEELER: Call it defendant's A.
 6 being confident in an answer: You want a confident            6 Or, you know, Spanos A. • ~ - •--
 7 answer, right?                                                7           (Exhibit Spanos A was marked for
 8           So the reason why I'm hesitating is                 8            identification.)
 9 that I'm not sure who's self-identifying as a                 9           THE WITNESS: You got any Lysol? I've
10 cofounder. And I don't really have cofounder as a            10 got to look at that? I don't have a spleen.
11 definition in my brain. I really don't understand the        I1            MR.HEELER: Sorry to hear that.
12 nomenclature.                                                12           THE WITNESS: I've had pneumothora~ces.
13 BY MR.HEELER:                                                13 It took a lot to get me out here, mentally to leave
14    Q In your brain --                                        14 the house.
15    A Yeah.                                                   15 BY MR. HEELER:
16    Q --you said cofounder is someone who was                 16     Q Mr. Spanos, what I've placed before you is a
17 azound in the beginning.                                     17 document that's been marked as Spanos A for
18    A Yeah.                                                   18 identification.
19    Q Who was around in the beginning other than              19     A Yes.
20 you?                                                         20     Q And it's an eight-page document marked RVH -
21    A So they could have been around in the                   21 -Bates-stamped RVH_000290000297. And it appears to
22 beginning and then they could have left in the               22 be a printout from the Zap.org website. Have you ever
23 beginning. Or they could have like -- you know what I        23 seen this before?
24 mean? I don't know.                                          24     A No. I've never seen this.
25   Q Who was around in the beginning other than               25     Q Okay. So I'll ask you to turn to page 293.

                                                                                                       6(Pages 18 - 21)
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                                                     Page 22                                                         Page 24
  1                 N. SPANOS                                   1                  N.SPANOS .
                                                                                                                               ~.~ .~~
  2    A 293?                                                   2 We don't have to replay it.
  3    Q Yeah. You see in the bottom itsays --                  3            'COURT REPORTER: All right.
  4    A Yeah. But it's two ofeight.                            4 BY MR.HEELER:
  5    Q Okay. Turn to four ofeight. How's that?                5 ~-Q Who is not on the advisory board ofZap.org
  6 That's ~ lithe bit different.               ~               6 from the list of eight people that Ijust read to you?
  7    A No. I'm just sorry. I can't see that well.             7      A All ofthem.
  8 I've had a lot ofeye surgeries where people --              8      Q Were.any ofthem aver on the advisory board
 -9- _        MR::GII*FSBERG: -Try-notto-talleover•=           _9-ofZap:org? - -- ... _        _._.:__.- - --     --
10            THE WITNESS: Oh,I got it. Sorry.                 10      A No.
11            MR.GINSBERG: Let him finish his -                11      Q : Turn to the next page where it says "The Zap
12 sentence.                                                   12 Team." And it lists 12 individuals on the Zap team.
13            THE WITTIESS:Okay. Oh, wow. Nice.                13 You know,I'm going to go back to the prior with the
14 BY MR.HEELER:                ~                              14 Zap -- the.advisory board.
15     Q So it mentions "Our Team",the Zap team.               15          Were.any ofthe individuals listed, the
lb •And it:has the advisory board:                             16 ~ eight individuals;on the advisory board o~the
17     A :Yeah. Yeah.. Yeah,• -• -:- - -                       17 Synapse-Foundation2
18     Q And it mentions Sean Combs,Kumail Akbari,             18      A Yes.
19 Andy Goldstein,Jonathan ~Iey~►an Dwapne Campbell,           19 ~ ~-Q - ~Vl~ieh of the eight•-tndividuals -were on the
20 Danny Zaterman,'Evan Renov and~Matt Hollander. Do you       20 advisory board.of the Synapse Foundation?
21 recognize any of those individuals?                         21      A The guy from Jamaica.
22     A Yes.:                                                 22      Q Who's the guy from Jamaica?
23     Q And are each of those individuals members of          23      A Dwayne.
24 the advisory board of the Zap.org?                          24             MR. GINSBERG: Who did you say? I'm
25     A No.                                                   25 sorry.
                                                  Page-23.                                                          Page 25    i
 1                N. SPANOS                                  1                  N. SPANOS
                                                                                                              _..... _
 2 _ Q -0k'~y: Wt►o's-mot ~'Ri~mber o "~ e advisory         'Z         "` .THE~WTTNESS~H,iim? .`_
 3 board?                       -                            3            MR. GINSBERG: Who'd you say? Okay.
 4     A Where did this come from?                           4             THE WITNESS: I'm having a hard time
 5     Q Th0 2ap.org website.                                5 remembering. But Dwayne, maybe Hollander, maybe. An
 6     A Idon't think So.                                    6' this is not on the Zap.org site, just FYI.
 7     Q I'm focusing on the page before the page            7 BY MR. HEELER:
 8 you're turning to. I'm only focusing on the advisory      8     Q Not currently.
 9 board.                                                    9      A Yeah.
10            MR. GINSBERG: Mr. Spanos has a right 10              Q Not currently. It was taken off after it
11 to look at the~entire document, Mr. Heller.             11 was pointed out.
12            MR. HEELER: Fine. No problem.                12       A So you're saying --
13 . .        TIC WITNESS: No. Imean,Inever -- . 13                       MR. GINSBERG: Wait, wait. Are you
14 say that question again.                                14 making a representation?
15            MR. HEELER: Can you play back the            15             MR. HEELER: Yes. Iprinted it out off
16 question, please?                                       16 of the Zap.org website.
17            MR. GINSBERG: It's going to be a lot         17              THE WITNESS: So this was on there?
18 faster if you can repeat it.                            18             MR. HEELER: Oh, yes.
19            MR. HEELER: Idon't thinkIcan                 19 BY MR. HEELER:
20 remember what the question was.                         20      Q Was Sean Combs at any point in time ever
21            'THE WITNESS: Wlxo's not --                  21 affiliated or working with the Synapse Foundation?
22            MR. HEELER: Okay. Okay. So who's             22      A You know what,Idon't remember. Idon't
23 not.                                                    23 remember what category, what you can call him, title.
24            COURT REPORTER: I'm -- okay. Hold o .24                     MR. GINSBERG: That wasn't the
25            MR. HEELER: It's fine. Let's go back.        25 question.

                                                                                                      7 (Pages 22 - 25)
    - --_. ___   ____   _         ___   __   _i/eritextLegal solutions           ___ _ __ . --
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                                                         Page 26                                                              Page 28
  1                N. SPANOS                                         1                  N. SPANOS
 2            THE WITNESS: Oh,what was the                          2             THE WITNESS: I'm trying to answer.
 3 question?                                                        3             MR. GINSBERG: Excuse me. Now you're
 4 BY,;MR.~HELLER:,~,:.,, ..z.~,... ~ .,.,                          4~antenupting me..
 5     Q Was he at any time --                                      5          MR. HEELER: Well, don't say I'm making
 6     A Oh.                                                        6 faces when I'm not making faces. Don't say that.
 7     Q -- affiliated?                                             7 ThaYs not true.
 8     A Yeah.                                                      8             MR. GINSBERG: Mr. Helier, don't tell
 9     Q Okay. What was his role?                                   9 me what to do. I'm making an objection.
10     A That's the answer I gave before. I don't                  10             MR. HEELER: Make the objection.
1 1 recall his exact description of his role.                      11             MR. GINSBERG: If you don't like it,
12     Q Do you recall anything about his role?                    12 then you can make a record. But you are making faces.
13     A You know,I don't have the paperwork in                    13 You're shrugging your shoulders. You're interrupting
14 front of me to answer --                                        14 Mr. Spanos. And I ask you respectfully not to do
15     Q Oh, so there's paperwork?                                 15 that.
16            MK.GINSBERG: Excuse me. Please don                   16           MR. HEELER: I take your request under
17 interrupt him.                                                  17 advisement. And I will respect Mr. Spanos. But I do
18            MR.HEELER: I'm sorry.                                18 object to the fact that you're saying I'm making
19            THE WITNESS: Don't interrupt.                        19 faces. I am not.
20 BY MR.HEELER:                                                   20 BY MR. HEELER:
21     Q Go. Tell me about the paperwork.                          21     Q    Please answer the question.
22     A Well,I remember that there was some paper.                22     A  I'm trying. I think -- I think it was a faac
23     Q Where?                                                    23 or, you know,I don't know what it was. But there was
24     A So I don't know where they are.                           24 apiece of paper like one -- oh, you know what it was?
25     Q Oh.                                                       25 There was a phone conversation and what, you know,

                                                         Page 27                                                              Page 29
  1                 N. SPANOS                                       1                  N.SPANOS
  2     A But I would love to be able to read them to               2 people wanted from him.
  3 know what the heck, you know,the job description was.           3     Q    Did you participate in that phone
  4   Q Okay. And who entered into that paperwork                   4 conversation?
  5 with Sean Combs?                                                5     A    Yeah.
  6          MR. GINSBERG: Objection. There was no                  b     Q    Who --
  7 testimony someone entered into paperwork with Mr.               7     A   Well, they wanted -- you know, this was
  8 Combs.                                                          8 noise. You know, if someone -- I'm pretty popular in
  9 BY MR. HEELER:                                                  9 this industry. And, you know,I found myself put on
 10   Q Please describe the paperwork.                             10 websites as founder on the things I never heard of.
 11   A I don't remember. But it was paper I think.                11         As a matter offact, I picked up some -- I
 12    Q    You're talking about paper that you wished             12 was in a cab. I jumped in a cab and someone jumped in
'~ 13 you would have in front of you so it could refresh           13 the cab at the same time. I should have figured --
   14 your recollection as to what Sean "Puffy" Combs did          14 and I said, well, where are you going. A Chinese guy.
 15 for the Synapse Foundation. What type of paperwork             15 He goes I'm going to the East Village. And I said,
 16 were you thinking of?                                          16 oh, I'll take you there. I'll drop you off, because I
 17     A I don't remember. But it was -- I'm trying               17 felt bad.
 18 to answer.                                                     18         And the guy said he was interested in
 19    Q    I hope so.                                             19 blockchain to me because he know who I was apparently.
20     A    I am. I'm trying to answer.                            20 And then he went and he put my name on his site as a
21            MR. GINSBERG: Mr. Heller, you're                     21 founder or, I don't know. I don't know if it was a
22 making faces at Mr. Spanos. You're interrupting.                22 founder. But he put his name on my site.
23 You're --                                                       23             MR. GINSB~RG: Your name on his site.
24             MR. HEELER: I'm not making any faces.               24          Tf-IE WITNESS: Yeah. And I had nothing
25 I totally, totally object to that.                              25 to do with that guy. Does Mr. Herskowitz want some of

                                                                                                             8(Pages 26 - 29)
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                                                        Page 30                                                      Page 32
  1                N. SPANOS                                       1               N. SPANOS
                                                                                                                               f   .
 2 him? Because he can have all he wants. You know what            2 people from the Synapse Foundation, how do you
 3 I mean? I mean,there's other --                                 3 communicate?
 4           MR. GINSBERG: There's no question                     4    A Over like, I don't know,some kind of
  5 pending.                                                       5 audible because I'm not -- my eyeballs aren't that
 6           THE WITNESS: All right. All right.                    6 good, so. I've had many surgeries in my eyes, and n
 7 I'm just saying that people --                                  7 LASIK because Ihave -- so I don't really use email
 8           MR. HEELER: Peter? Please. I don't                    8 that much. You can attest to that, right? I don't
 9 like those digs. If he's going to do a dig;then it's            9 read my email
10 going to get very nasty.                                       10    Q Have you ever communicated electronically
11           MR. GINSBERG: Let's continue.                        11 with anyone in connection with --
12           THE WITNESS: I didn't do a dig. What                 12    A Over the telephone.
13 is a dig?                                                      13    Q Have you -- could you please let me finish
I4           MR. GINSBERG: Let's continue the                     14 my question?
I S deposition, please.                                           15    A I'm sorry.
16           THE WITNESS: I didn't do a dig. I'm                  16          MR. GINSBERG: Let him ask a question.
17 not as smart as you guys.                                      17          THE WITNESS: I'm sorry.
18        - MR. GINSBERG: Is there a question                     18 BY MR.HEELER:
19 pending?                                                       19    Q Have you ever communicated electronically
20           MR. HEELER: No.                                      20 with anybody from the Synapse Foundation?
21           MR. GINSBERG: Ifthere are no more                    21    A Yes. .Over the phone. Over apps. Audible.
22 questions, we can leave. Ifthere are questions,                22 Q Okay. Are those --
23 let's proceed.                                                 23    A Like WhatsApp or something like that. I
24           MR.I~LLER: There are a lot of                        24 don't know if it was --
25 questions.                                                     25    Q And are those apps transcribed --
                                                   Page 31                                                         Page 33
  1               N. SPANOS                                        1                N. SPANOS
 2           MR. GINSBERG: Okay. Then let's                        2    A Something else.
 3 proceed.                                                        3    Q And are those apps transcribed into writing?
 4 BY MR.HEELER:                                                   4     A No. Should they?
 5    Q Where does Zap.org keep its paperwork?                     5          MR. GINSBERG: No. Come on. Just
 6    A It's preriy much a paperless world right                   6 answer his questions.
 7 now. When I said there was a piece of paper or there            7          TIC WITNESS: Weli,Pm saying I don't
 8 was paperwork, you know,I don't know if it was file             8 know.
 9 or anything like that. Is that what you're asking me?           9          MR. GINSBERG: You're not asking
10           MR. GINSBERG: No. He just wants to                   10 questions. He is.
1 1 know --                                                       11          THE WITNESS: Oh, he's asking
12           THE WI"TNESS: I don't know. I don't                  12 questions. Don't get mad at me. I don't want you to
13 know. Either Isle of Man or Switzerland. I don't               13 get mad at me.
14 know.                                                          14 BY MR.HEELER:
15 BY MR.HEELER:                                                  15    Q Do you ever use Twitter?
16    Q How do you communicate with individuals in                16    A Well, I have people that use Twitter for me.
17 the Synapse Foundation?                                        17    Q Who?
18    A It's been a --                                            18    A I don't know. Different people over time.
19           MR.GINSBERG: Objection. Assumes                      19    Q Who?
20 facts not in evidence.                                         20    A That's a good question. From the beginning
21 BY MR.HEELER:                                                  21 of Twitter, of my use on Twitter?
22    Q Do you communicate with people from the                   22    Q From the beginning of your use on Twitter.
23 Synapse Foundation?                                            23 Yes.
24    A I cati answer? Very sporadically.                         24    Ei I don't know. ~Jhatever. reople say to me,
25    Q When you sporadically communicate with                    25 hey, you know,send this out because x, y, z. Send

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                                                           Page 34                                                        Page 36
 1                   N. SPANOS                                        1                N. SPANOS
 2   this out because apparently I have a bullhorn to the             2     A No.
 3   community. So people ask me to tweet things like what            3     Q Has Kumail Akbari done any work or performed
 4   the hell is his name,:like~John Matthews I think asked           4 zany,services on behalfofthe.Synapse Foundation?
 5   me to -- from Global Arena Holdings, asked me to tweet           5     A I'm not -- I can't answer that positive or
 6   things out.                                                      6 negative. I don't know a hundred percent.
 7       Q Other than Mr. Mathews, who asked you to                   7     Q Do you know for certain that he has not done
 8   tweet things out?                                                8 -- performed any services for the Synapse Foundation?
 9       A Or I think he told me to stop tweeting                     9           MR. GINSBERG: You can't write
10   things out. I don't remember. I think he told me --             10 something because --
11   I don't know. I don't know. IYs a promotional tool              11           MR. HEELER: There's a question
12   that people want, as a matter:offact, to pay me to              12 pending.
13   do.                                                             13           THE WITNESS: Oh,I can't?
14       Q Do you ever tweet things out?                             14           MR. GINSBERG: No.
15       A Once in a while.                                          15           THE WITNESS: I want to ask you --
16       Q Okay. And do you do it yourself?                          16           MR. HEELER: There's a question
17       A Whoever's next to me. I make sure that they               17 pending.
18   -- I don't know.                                                18           THE WITNESS: -- how to answer.
19       Q So when do --                                             19           MR. GINSBERG: There's a question
20       A Like right now ifI was going to tweet                     20 pending.
21   something, I'd say, oh, I want to tweet. What does              21           THE WITTIESS: Oh,I can't?
22   this look like? Is that what it -- you lrnow what I             22           MR. GINSBERG: Not while there's a
23   mean?                                                           23 question pending.
24            MR. HEELER: Offthe record, please.                     24           THE WITNESS: Wow. All right. Say
25            COURT REPORTER: Going ofthe record.                    25 that again. I didn't heaz. I don't remember what you
                                                           Page 35                                                        Page 37
  1               N. SPANOS                                           1                 N. SPANOS
 2 The time now is --                                                 2 said.
 3           THE WITNESS: Should I go to the                          3 BY MR.HEELER:
 4 bathroom?                                                          4    Q Are you able to say for certain that Kumail
 5           COURT REPORTER: -- 11:08 a.m.                            5 Akbari has performed no services for the Synapse
 6          (Offthe record.)                                          6 Foundation?
 7           COURT REPORTER: Back on the record.                      7    A No. Can I do it now? Can I write something
 8 The time now is 11:19 a.m.                                         S now?
 9           MR.HEELER: Okay. Peter, for the                          9           MR. GINSBERG: Yeah. Now there's no
10 record, unless you object, whenever I refer to                    10 question pending.
1 1 Zap.org, I am referring to the Synapse Foundation as             11           THE WITNESS: Okay. Hold on a second.
12 well. I'm referring to them as the same --                        12 I want to ask him a question properly.
13           MR.GINSBERG: I think you have to                        13           MR.HEELER: All right. Let the record
14 separate them out.                                                14 reflect that the witness is writing a note to his
IS           MR.HEELER: So I'll separate them out                    15 attorney.
16 into two questions for each one.                                  16           MR. GINSBERG: Okay.
17 BY NIIZ. HEELER:                                                  17           THE WITNESS: All I'm saying --
18     Q Who is Kumail Akbari?                                       18           MR. GINSBERG: -- a question you can
19     A A friend of mine that I've known for a long                 19 answer.
20 time.                                                             20 BY MR. HEELER:
21     Q Is Kumail Akbari in any way associated with                 21    Q Has Kumail Akbari provided any services on
22 the Synapse Foundation?                                           22 behalf ofZap.org?
23     A No.                                                         23           MR. GINSBERG: You can -- you can tell
24     Q Is Kumail Akbari in any way affiliated with                 24 him that. Go ahead.
25 Zap.org?                                                          25           THE WITNESS: All right. That was my ~

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                                                     Page 38                                                          Page 40
 1               N. SPANOS                                       1               N. SPANOS                                      ~.ti
 2 thing. So services, what do you mean by services?             2          (Offthe record.)
 3 BY MR.HEELER:                                                 3          COURT REPORTER: We're back on the
 4     Q Has he performed any work, has he been                  4 record. The time now is 11:26 a.m.
 5 affiliated with, has he helped? What~has he done, if          5 BY MR.HEELER;.. .
 6 anything,:for Zap.org? _ -                                    6    Q Was Mr. Akbari ever affiliated with the
 7            AMR. GINSBERG: Are you•talking about               7 Bitcoin Center ofNew York City?
 $ either compensated or uncompensated?                          8    A He came around, as did many other people.
 9           1VIIt.HELL-ER:—`~'-es.                _ .- _
10            THE WITNESS: So yeah;uncompensated.                 10 ~ Q Other than coming around, did he perform any
11 He's probably helped out. I'eali. I didn't understand         X11 compensated:or uncompensated services for,the Bitcoin
12 if it was -- what the question was when you said work,         12 Canter of3~Iew YorkCity?
13 whatever. Work.                                                13    A I don't think so.
14 BY MR. HEELER:                                                 14    Q Who is Andy Goldstein?
15     Q What type of uncompensated services --                   15          MR. GINSBERG; I'm.sorry? What's the
16     A Yeah. Volunteer.                                         16 name?
17     Q -- has-Mr. Akbari and.when did-h~~olunYeer?            ~1? -BI'-NIIt.-HfiLLER: ..:
18     A I don'tknow. He's -- I don't want to put                 18    Q Andy Goldstein.
19 this.on-thE record-about#im.--But he's not really a            19    A He's -- I don't know what•you mean by-that.
20 hundred percent person.                                       20 He's a human. He's iri the industry.
21     Q Where does:Kumail A~lcbari"live?                        21     Q Okay.
22     A I don't know.                                           22     A I don't know what you mean by who he is.
23     Q Does he live in New York?                               23     Q Was Andy Goldstein ever part ofthe advisory
24     A I.don't know.                                           24 board ofthe Synapse Foundation?
25 : 'Q Does he live in -- does he work.in New York?             25     A He had given advice. I'm not sure ifthat

                                                     Page-3~                                                          Page 41
 1                N.SPANOS                                       1                  N.SPANOS
                                                      _... _.
 2      ~   IGIR. GINSBERG Ob~echon. Assumes                     2 constitutes ==you'regoing'by this piece ofpaper
 3 facts not in evidence.                                        3 here: And this piece of,paper, you know, if it's a
 4 BY MR:HEELER:                                                 4 representation ofthe website,I'm.not sure, you know.
 5    Q Where does Mr. t~kbariwork?                              5 So he gave advice. So yeah; I don't know. You wan
 6           MR. GINSBERG: Same objection. Assumes               6 to call -- he was an advisor.
 7 faots not in evidence.                                        7     Q So are you saying -- let's strike that. Is
 8 BY MR.HEELER:                                                 8 this piece of paper that's Yn front of you that's
 9    Q Yau testified previously that Mr. Akbari is              9 marked as Spanos A,and~in particular page four of
10 a good friend.                                               10 eight, is it inaccurate in any way?.
11    A '~'eah. T-Ie's lived in many places.                    11    A No. I'm just--- I'm not sure because I'm
12    Q Okay.                                                   12 not_familiar with it..
13     A I'm not sure where he klives .right now.               13     Q ~ Ol~ay. .: ~ ~~
14    Q Has he ever lived in New York?                          14     A So I'm not sure if it`s inaccurate. I'm not
15     A I'm not sure.                                          15 sure at whieh moment: I know that a default:was if
16    Q Did Mr. Akbari ever -- was he ever                      16 nobody -- if people that were working on the website
17 affiliated with'the Bitcoin --                               17 didn't know the -- didn't know like where the person
18           THE WITNESS: Can we go offthe record               18 came from or whatever,they would put as a default
19 a second?                                                    19 Bitcoin Cenfer:because everyone went to the Bitcoin
20           MR. HEELER: Go offthe record.                      20 Center.
21           T~-IE WITNESS: I want to go offthe                 2I        It's not a representation ofifsomeone
22 record because I want to say something about Kumail          22 worked at the Bitcoin Center. I didn't agree to that.
23 that I don't it to be on the record.                         23 But that's what happened.
24           COURT REPORTER: Okay. We're going                  24    Q Who prepared-the website for the Synapse
25 offthe record. The time now is 1.1:25 a.m.                   25 Foundation?

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 1               N. SPANOS                                             1                N. SPANOS
 2      A There were many, many people, some in the                    2 trying to give you my memory of it, notjust -- like
 3   Armenia, some in Belarus.                                         3 one time I saw that everyone was on here as from the
 4     Q And who had --           .. ~ ~ .,. . , ..._ ..>       ,.    .4,Bitcoin,~e~ter.•.And_.I,called.up.the Belarusians. Oh,
 5      A To the best of my knowledge, there was                       5 there was Polacks too. There's Polish too.
 6   probably more, I don't know.                                      6 BY MR.HEELER:
 7      Q Who from the Synapse Foundation communicated                 7     Q All right. So can you --
 8   with the individuals who prepared the website for                 8     A I said why is everyone on there from the
 9   Zap.org?                                                          9 Bitcoin Center. That guy never even went to the
10      A It was probably conference -- a conference                  10 Bitcoin Center. Why does it say that he's from the
11   call, a bunch ofpeople.                                          1 1 Bitcoin Center? He goes, oh, that's the default.
12      Q Were you on the conference call?                            12           MR.GINSBERG: But the question, Nick,
13       A Some. But not all the time.                                13 is when you participated in those calls --
14      Q And during those conference calls that you                  14           Tf~ WITNESS: That was --
15   were participating in with the website people, who               15           MR. GINSBERG: -- who directed you to
16   else participated in the conference calls?                       16 participate in the calls?
17      A You know, the -- oh, excuse me. Which                       17           THE WITNESS: Well, it depends. You
18   conference ca117 For this -- to build this site?                 18 know, yeah. So someone. I don't know. Someone o
19      Q For the website.                                            19 someone from -- either Iorgos or a Belarusian or an
20      A A bunch of Belarusians, a bunch of                          20 Armenian or a Dane.
21   Armenians.                                                       21 BY MR.HEELER:
22      Q How many Belarusians?                                       22     Q Where were you when you participated in the
23      A I don't know.                                               23 conference calls?
24      Q How many Armenians?                                         24    A I'm not sure. I don't remember.
25      A Three or less of each.                                      25    Q Do you recall how --
                                                          Page 43                                                          Page 45
 1                  N. SPANOS                                           1                N. SPANOS
 2       Q And who --                                                   2    A Where were you when you -- I don't know
 3       A Not at the same time. I don't think the                      3 that. It doesn't --
 4   Belarusians. I'm not sure.                                        4     Q How many calls do you remember?
 5       Q Who from the Synapse Foundation participated                5     A Like I remember when the space shuttle blew
 6   in this conference call?                                          6 up --
 7       A Well, I would participate, you know, when I                 7     Q How many calls --
 8   was told. But --                                                  8     A -- where I was. But I don't remember where
 9      Q And who would have told you to participate?                  9 I am when, you know, someone's giving me a phone call.
10             MR. GINSBERG: I'm not sure he was done                 10     Q How many calls did you participate in
11   with his answer. Were you done with your answer?                 l 1 regarding the website?
12             THE WITNESS: I think so.                               12     A I don't remember. But probably a bunch.
13   BY MR. HEELER:                                                   13     Q You've mentioned a call when you discussed -
14      Q Who would have told you to participate?                     14 -when you referenced the Bitcoin Center.
15      A I'm trying to think of the times that it                    IS     A Yeah.
16   occurred so I can give you the right answer.                     16     Q Do you recall when that call took place?
17      Q How many times did these --                                 17     A A few years ago. I don't remember the exact
18            MR. GINSBERG: Well wait --                              18   day.
19            MR. HELLGR: Okay.                                       19      Q Do you remember who you were speaking to at
20            THE WITNESS: A bunch.                                   20   the time?
21            MR. GINSBERG: I mean, he's trying to                    21      A Hold on. I think it was a Polish guy named
22   answer the question.                                             22   Roman.
23            MR. HEELER: I --                                        23      Q Do you recall anyone else who was on the
24            THE WITNESS: Pm just trying to                          24   call at that time?
25   remember. I'm trying to remember. I'm actually                   25      A The Danish guy. I don't know.

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                                                     Page 46                                                   Page 48
 1                 N.SPANOS                                       1                N. SPAN. OS                               t,. ..
                                                                                                                                   1,
 2     Q Did Ben Youngever --                                     2 don't remEmber:
 3     A It was a bunch of people, a bunch of people.             3    Q Did Eric Dixon perform any services, paid or
 4     Q Did Ben young have any prior affiliation to              4 unpaid services --        ..
 5 the Bitcoiri Center?                                           5    A I:think he performed --
 6     A Ben Young did.                                           6           MR.GINSBERG: Let him finish. He
 7     Q Did Steve Geros,'G-E-R-O-S, have any prior               7 hasn't --
 8 affiliation --                                                 8           TIC WITNESS; .Oh,I'm sorry.
-9- -- A -You-lenow;    I-don't remember. _---- —                 9 - - -MRSGINSBERG:----fru shed the -
10     Q ~ -- to the Bitcoin.Center?                             10 question:
11            NIlZ..GINSBERG: Let him finish his                 11           THE WITNESS:~ Okay. I'm sorry.
12 question:=                                                    12 BY MR.;~H~LLER:
13            THE WITNESS:.Oh,P~m sorry.                         13    Q Did Eric Dixon°perform any paid or unpaid
14 BY MR.HEELER;'                                                14-services.for=Blockchain Technologies?
15     Q Did Steve G.eros have any prior affiliation             15 :: A I don't remember. But I think he worked.
16 with the Bitcoin Center?                                      16 Yeah. I~don'.t remember: You mean paid or unpaid?
17-~ ~.:A._._.So_~liation,'-again, my_question is what's
i8 the definition of affiliation, meaning paid.br unpaid
                                                       18    Q Did•Ben Dixon perform any,paid or unpaid
                                                       1I servicesfor the Synapse Foundation?        -
20    Q Paid.                       ... _. . .         20    A .. No.
21    A -- or a visitor?     ~'                        21          MR.GINSBERG: Object.:BenDixon?
22 .Q' Paid or unpaid.       ..                        22 BY  MR.  HEELER:.
23    A Or a visitor? Because -it was a public space 23      Q Sorry. Did Eric Dixon;thank you, perform
24 for any -= you know;the doors were open to anyone t 24 any paid or unpaids~rvices for the Synapse
25 walk in. Even Mr. Herskowitz~walked.in. ...         25 Foundation?
                                                                                                                   Page 49
   1                  N. SPANOS                                   1                  N.SPANOS
   2f~` Q "'NoY`only Soriieone who just walked in. Did"he "' ~   `2     A-'I-don'tthit~k~o:Didlfe pei°forni any"paid -
   3 have any role --                        -                    3 or unpaid services? .Well, that would be what your
   4     A He walked in over and-over and over.                   4 definition ofthe word,services is.
   5     Q -- in connecrion --                                    5     Q D~Id Eric Dixon do anything whatsoever in
   6             MR. GINSBERG: Let him finish the                 6 this world on behalfoPthe fiynapse Foundation?
   7 question so the record's clear. And thequestion              7     A On behalf ofthe Synapse.Foundation?
   8 'really isn't particularly clear. So maybe you could         8     Q Yes.
   9, define what you mean-by affiliated.                         9     A I don't know.` I don't remembeC,
  10 BY MR. HEELER:                                              LO     Q Where does Eric Dixon reside?
  11     Q Did Steve Geros hold an3~ titles with the             11     A Because I -- excuse mE?. ,.~
  12 Biteoin Center? ~                                           12     Q Where does Eric Dixon reside?
  13 ~~ A ~I don't remember. ~                                   13     A Resolve?                      ~ ~  ~-
  14     Q Did Steve Geros receive any compensation              14     Q Reside.
  15 from the Bitcoin center?                                    15     A -In New Jersey..
~ 16     A I don't remember. No.                                 16     Q Where does Er1c,Dixon .work?
1 17 Q Did he receive any compensation from                      17     A I don't know. I don't remember. I know he
i 18 Blockchain Technologies?                                    18 had an office somewhere where they had the bombi
  19 A I don't remember. He might have.                          19 with the pressure cookers. It was right outside his
  20     Q Did Ben Young receive compensation from.              20 office or something. I don't know where though.
  21 Blockchain Tecfinologies?                                   21     Q~ InManhattan?
  22 A I think so. I think so.                                   22     A In Manhattan. But I don't know if he's
  23 Q Did Eric Dixon receive any compensation from              23 still there. I don't know. I don't know.
  24 Blockchain Technologies?                                    24     Q Did Ben Young --
  25     A You know,I don't know. I don'.t know. I               25     A I don't know anymore.

                                                                                                    13(Pages 46 - 49)
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                                                           Page 50                                                     Page 52
  1                 N. SPANOS                                      1                 N. SPANOS
  2      Q -- perform ~►►y ~ser~+ices, anything in the             2            MR. HELLER:~That is true.-
  3 world, any work onbehalf of the Synapse Foundation,            3            MR.  GINSBERG: Excuse me. The record
.~A .paid~or:~unpaid?3 ~~:                                r   ~, K.4.~flects thai v~then,Mt~.,Sp~uo$,.,after trying to
  5      A I'm not sure.                                           5 understand these very broad questions with undefinec
  6      Q   As you  sit here today, can you  say that he          6  terms, gives you an answer, you don't follow up and
  7 did not do  anything   on behalf of the Synapse                7  you're not asking for any specifics. I'm not really
  8 Foundation?                                                    8  quite sure exactly what you're doing.
  9      A Well, I'm not sure. Imean, Ben Young         under      9           But it seems to me if you think any of
 10 contract of another company; you know. Idon't know.           10 these  questions relate to jurisdiction, that thought
 11      Q Did Ben Young or any entity with whom he is            11 is misguided. And I'm not really sure what we're
 12 affiliated --                                                 12 doing with these questions. .So perhaps if you could
 13      A Probably. Let him finish the quesrion.                 13 .define.your.terms andmake them more specific, we
 14            MR.  GINSBERG:      Let  him  finish the           14 could move along.
 15 quesrion.                                                     15           MR: HEELER: Perhaps if your client
 16            THE WITNESS: I'm sorry.        I'm sorry.          16  will answer the questions, we can move along. Let's
17 I'm trying to be helpful. Iam, you know?                          17   ga
18 BY MR. HEELER:                                                    18           MR. GINSBERG: He's trying to answer --
19    Q -- perform -- perform any services, paid or                  19           MR. HEELER: No. He's not.
20 unpaid on behalf of the Synapse Foundation?                       20           MR. GINSBERG: -- very difficult
21    A Listen,Idid a Simon Says with 12,000                         21   amorphous, opaque questions.
22 people two years in a row and won both times. So                  22           MR. HEELER: Itotally disagree with
23 you've got to ask very clearly. I'll give you a clear             23   you. But you can have your opinion andIcan have
24 answer. So services, what does that mean? Idon't                  24   mine.
25 understand.                                                       25   BY MR. HEELER:
                                                           Page 51                                                             Page 53
 1                N. SPANOS                                           1                 N. SPANOS
 2     Q Okay. Anything in the world on behalf of                     2       Q Let's start from scratch. Who is Ben Young?
 3 the Synapse Foundarion. Did he do anything?                        3   Strike that. How are you familiar with Ben Young?
 4     A Yes.                                                         4       A He walked into the Bitcoin Center yeazs ago
 5           MR. GINSBERG: You know, wait a minute.                   5   on 40 Wall.
 6 Objection. Idon't know what on behalf of'means                     6       Q And after he walked into the Bitcoin Center
 7 either. If you --                                                  7   at 40 Wall, did you individually or on behalf of any
 8           THE WITNESS: Yeah.                                       8   entity have any business relationships with Ben Young?
 9           MR. GINSBERG: If you -- these                            9            MR. GINSBERG: On that day?
10 questions really don't goIthink to the substance and               0   BY MR. HEELER:
11 you're not asking geographically where it occurred,               11      Q After. He walked into the Bitcoin Center.
12 what it occurred.                                                 12 Did --
13           MR. HEELER: Then you will --                            13           MR. GMSBERG: I'm not asking you
14           MR. GINSBERG: You're asking some very                   14 whether you mean after on that date that he walked in
15 general questions with terms that aren't defined.                 15 or any time after.
16           MR. HEELER: Then you'll object as to                    16 BY MR. I-IELLER:
17 foundation ifIdon't ask first whether he did                      17    Q Any time after that day.
18 something. ThenIhave to ask where he did it. So if                18           MR. GINSBERG: Can you define business
19 Iget an answer whether or not he did, thenIwill ask               19   relationship?
20 where he did it.                                                  20   BY MR. I~LLER:
21           MR. GINSBERG: But you're not.                           21      Q Did you have any entity, did you participate
22           MR. HEELER: But I'm not even getting                    22   in any entity together where you both had a business
23 an answer when and where or what he did.                          23   relationship, whether it was Blockchain Technologies,
24           MR. GINSBERG: That's not correct. The                   24   the Synapse Foundation, Zap.org?
25 record --                                                         25            MR. GINSBERG: Objection. Form.

                                                                                                              14 (Pages 50 - 53)
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                                                       Page 54                                                            Page 56
     1                 N.SPANOS                                     1                  N. SPANOS
     2 BY MR.HEELER:                                                2             MR:GINSBERG: Objection as to form.
     3      Q You can answer.                                       3             THE WITNESS: You guys -said a bunch of
     4            MR.GINSBERG: If you can. understand               4   stuff and I got confused. I don't know. Can you say
     5 it, you can answer. "                                        5   it one more time, please? I'm sorry.
     6            TIC WITNESS: I can't give you a yes or            6   BY MR. HEELER:
     7 no because you-just put a triple bind in there. So if        7       Q What,if anything, did Mr. Young do
     8 I say yes,then that means yes to all three?                  8   individually or on behalfofan entity with the
   --~------.___- MR:I~vL-ER:-No.---
    10            THE WITNESS: You know, you've got to             10 individual standpoint?
    11  make   a question about it.                                11 .: A Talk a lot.
    12            MR.HEELER: No.. You --                           12      Q Did he have --
    13 ~.         MR:GINSBERG: That's because the                  13      A To girls too.
    14 question is objectionable as to form: If you could          14      Q Did he have meetings?
    15 break it down and ask straightforward questions --          15            MR. GINSBERG: Talking about:abusiness
    16            THE WITNESS: Yeah.                               16 relationship:•Did Youhg have a business relationship
    1Z            MR.GINSBERG: -- N,ix.-Spanos would-do            L7 with-Synapse?-.- :«~.. ..: ... ... -...: -. _.~ .:.
    1S his best to respond. '           ~.                         18            THE WITNESS: I don't ttiinkso: I '.'
    19 BY MR.HELL      -ER: , _-= _ , ,_.                          19- don'-t Lmow.-I mean;I don'-t remember ifYoung himself
    20 ' Q Did you and Mr.-Young Have any business                 20 had or=maybe I didn't even -- was privyno ~it. But`I
    21 relationship -- strike that: Did Bloekchain.                21 don't know.
    22 Technologies Inc. ha~e~ any business relationship wit)      22           -I think, you know,Young was around:a
 x'23 Bin Young or any entity with which Ben-Young was             23. lot. And lie sptike knowledgeably and at the Bitcoin
'i 24 affiliated?                                                  24 Center,-you know, years ago. But then he, youknow --
 'i 25      A Yes.                                                 25 geez. I don't want to say anything bad. But ha --
                                                         Page 55                                                    Page 57 ~
  1               N. SPANOS                                         1                  N. SPANOS
~ 2 „Q'"Okay: Was if witti`NIr.'Young indivi3uallyor
'                                                                   2~ anyway.
  3 with an endry with whom which he was affiliated?                3 BY MR.HEELER:
  4    A I don't remember.                                          4     Q Was Young the creative director ofthe
  5    Q And did you orany -- no. Strike that. Did                  5 Synapse Foundation?
  6 Ben Young have any business relationship, Ben Young or          6     A No.
  7 any entity with whom he was ~liated, have any                   7     Q Was Young the creative director ofZap.org7
  8 business relationship with:the Synapse Foundation?              8     A Has he called himselfthat? Is that your
  9    A Any relationship?                                          9 question?
 10    Q Any relationship.                                         10            MR.GINSBERG: The question is --
 11    A Sure.                                                     11          :THE WITNESS: Was he?
 12    Q Do you recall what that relationship was?                 12            MR. GINSBERG: -- as an official title,
 13 ~ A No. I mean,I don't recall: Yeah.                           13 was  he~the  creative director of Synapse --
~T4    Q Do=you reeall anything thaYMr. Young or any               14            THE WITNESS:~ There was no
 15 entity with whom he was affiliated did in connection           15 organizational chart to Zap.org and anyone Bailing th
 16 with the Synapse Foundation?                                   16 Belarusians or some could get it changed. People
 17           MR. GINSBERG:.Objection. Assumes                     17 would change stuff,put whatever:they want on there.
18 facts not in evidence.                                          18 I think I found myself as the --
 19 BY MR.HEELER:                                                  19            MR. GINSBERG: Nick.
20     Q You can answer.                                           20            THE WITNESS: I'm sorry.
21            MK. GIN~BERG: The relationship could                 21            IVIR: GINS~ERG: Did Young have the title
22 be personal as well as professional, business as well           22 of creative director ofZap:org?
23 as non-business.                                                23            THE WITNESS: I'm not sure.
24 BY MR. HELLBR:                                                  24            MR.GINSBERG: Yes.or no?
25     Q Only in the business context.                             25            THE WITNESS: I'm not sure: That's the

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                                                            Page 58                                                     Page 60
    1                 N. SPANOS                                         1                N. SPANOS
    2 answer.                                                           2           THE   WITNESS: It's too broad a
    3            MR. GINSBERG: Not whether he gave it                   3 question.
5 ~ ~4:~to.himself..~As.a matter~oE organization, did he have         . 4 BY MR.HEELER:.:,..:,... , .., ,,..,
    5 that title?                                                       5    Q Were there attorneys involved in connection
    6            THE WITNESS: No. I mean, I see it                     6 with the initial coin offering ofthe Synapse
    7 here on the paper.                                                7 Foundation?
    8            MR. GINSBERG: Nick, that's not the                     8    A Yes.
 9   question.                                                          9    Q What are the names ofthose attorneys?
10            THE WITNESS: That's what that says.                     10     A I don't know.
11             MR. GINSBERG: That's not the question,                 11     Q Do you have any --
12   whether it's on that piece of paper or not.                      12     A I don't remember.
13            THE WITNESS: Oh. Oh.                                    13     Q Do you --
14             MR. GINSBERG: Based on your knowledge                  14     A I probably would have known at one point.
15   ofZap.org, did he -- was he the creative director?               15     Q Are there any documents that would refresh
16            THE WITNESS: I'm not sure.                              16 your recollection as to the attorneys who prepared th
17   BY MR. HEELER:                                                   17 documents for the initial coin offering ofthe Synaps
18      Q Who would know whether or not Ben Young was                 18 Foundation?
19   the creative director ofZap.org or of the Synapse                19     A What does document mean? Paper?
20   Foundation?                                                      20     Q Apiece of paper.
21      A I don't know. Iorgos7 I don't know.                         21     A Paper? I don't think so. I don't have any.
22      Q Who on behalfofthe Synapse Foundation --                    22     Q Were there any electronic --
23      A I've got to pee again.                                      23     A Probably.
24      Q -- makes a decision on who is involved in                   24     Q Any who would have access to the electronic
25   providing services for the Synapse Foundation. Strike            25 filings or documents relating to the initial coin
                                                            Page 59                                                     Page 61
 1                  N. SPANOS                                           1                  N. SPANOS
 2   that.                                                             2 offering for the Synapse Foundation?
 3      A Say it --                                                    3     A That would be -- Denmark or Isle of Man or
 4      Q I'll ask it another way. You mentioned an                    4 Switzerland.
 5   organizational chart.                                             5     Q Did you have access to any documents,
 6      A No.                                                          6 electronic documents in connection with the initial
 7      Q Is there an organizational -- no?                            7 coin offering ofthe Synapse Foundation?
 8      A I'in sorry.                                                  8     A See, the issue is my eyesight was much, much
 9            MR. GINSBERG: There's no                                 9 worse. I had many surgeries. I have a retinal -- I
10   organizational chart. That was his testimony.                    10 have uveitis and retinal vasculitis. And they put
11           MR. HEELER: Okay.                                        1 1 pellets in my eyes. And I've had many surgeries. An
12            MR. GINSBERG: It's already been asked                   12 documents were not that good to me because I can't
13   and answered.                                                    13 really see that well.
14   BY MR. HEELER:                                                   14         So it's a little difficult to recollect the
15      Q Did the Synapse Foundation perform an                       15 -- you know, either someone read it to me or it was
16   initial coin offering?                                           16 sent to someone else. I don't know. I don't
17       A So, yeah.                                                  17 remember. Or we were there.
18       Q Were there documents prepared in connection                18     Q Did you have access to the electronic
19   with the initial coin offering of the Synapse                    19 documents? I didn't ask whether you read them. I
20   Foundation?                                                      20 just want to know whether you had access.
21      A Probably.                                                   21     A Oh. I can't say to all ofthem because I'm
22      Q Who prepared those documents?                               22 not sure. But maybe.
23      A I mean, that'd be on the website, no?                       23     Q Okay. Did you make any attempt to get those
24           MR. GINSBERG: Nick, who prepared them,                   24 electronic documents and give them to your attorney?
25   if you know?                                                     25     A I don't remember. Which attorney?              ~

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                                                      Page 62                                                        Page 64
  1               N. SPANOS                                        1                  N. SPANOS.
                                                                                                                                     ~`'~.
 2 Q Mr. Ginsberg.                                                 2     Q Who from the Synapse Foundation has access
 3    A No.                                                        3 to electronic files ofthe Synapse Foundation?
 4            MR.GINSBERG: Obj~crion. I think that                 4           1VNZR. GINSBERG: Objection. Assumes
 5 calls for attorney-client privilege.                            5 facts not in evidence.
 6            MR.°HEELER: No. It doesn't.                          6 BY MR.HEELER:
 7            MR. GINSBERG: And you're also assuming               7     Q Is there anyone from the Synapse Foundation
 8 facts not in evidence.                                          8 that has access to electronic files.ofthe Synapse
-9--BY MR-I~iELL-ER:--- --- - _ __:~- -- ._        _.              9 _Foundation?           _      _ _ _ _,.-- -- _
10    Q Answer the question:                                      10           MR.GTNSBERG: If ybu know.
11            MR. GINSBERG: If you want to start                  11           MR.HEELER: Hmm?
12 with the basic question does Mr. Spanos have access to         12           MR.GINSBERG: If~he knows.
13 those records now,then we can,see where that goes.             I3           MR.HEELER: Mm-hmm.
14 But you'ret~ssuming he has accessin asking that                14           TI-IE~WITNESS:~ I'm not sure.
15 questioh.                                                      15 BY MR.HEELER:
k`6           MR.I3ELLER: He answered the question.               16    Q Are you curnently a director ofthe Synapse
 ~ _a~a.i:aia.:_-~- --- - - . . -    - - .___-                    17 Foundation?                 _      .. -.
18          THE WITNESS: No. Can I go to the                      18    A No.
1~ -bathrooms:_ _. _r :-.,~._..   _.         _,                   19~   Q Do you,play any ro1~ ~ha~sQaver currently in
20          MR.HEELER, Go to the bathroom.                        20 connection with the Synapse Foundation?
21          TIC WITNESS: Please? I drank too                      21    A Well, there haven't.been any phone calls for
22 much.                                                          22 along time, so.
23          COURT REPORTER:.Going offthe record.                  23    Q When was the last time there was a phone
24 The time now is 11:53 a.m.                                     24 call?
25         (Offthe record                                         25    A ' I don't know. Awhile ago.
                                                       Page.63.                                                            Page 65
 1                  N. SPANOS                                      1                 N. SPANOS
 2 -       - :-COi1RT REPQRTER:"We'Pe back-on the                  2     Q` And who was tliaf-phone call with;the last
 3 record. The~time now is 11:5.8 p.m. -=11:58 a.m. and            3 phone call?
 4 I'm going to read back the last portion.,                       4     A Clufetos.
 5             THE V✓ITNESS: What time is it? I've                 5     Q Anyone else?
 6 got'to take   my medicine. Do you know what time it is?         6     A It was a long time ago.
 7             MR:GINSBERG: Noon. Noon.                            7     Q Is there:anyone from the Synapse Foundation
 8           °THE WITNESS: Oh, we've got to get out                8 who would have access to the electronic or paper
 9 ofhere in 2r~ minutes.                                          9 documents relating to the initial coin offering ofthe
10            (The xeporter replayed the record as                10 Synapse Foundation?
11             regaested.)                                        11           MR GINSBERG: Objection as to form.
12             MR.HEELER: You know.what, let him                  12 Calls for -- a hypothetical question. Calls for
13 just clarify what he wanted to-say.                            13 speculation.
14             MR:GfNSB~ERG: Did you want to clarify              14 BY MR.HEELER:
I5 your last answer?                                              15     Q If you know the answer, you can answer.
16             THE WITNESS: You asked ifI ever gave               16     A Say it again?
17 -- I don't know. What was the question? You said               17     Q Do you know who from the Synapse Foundation
18 something about giving to Mr. Ginsberg or something,           18 would have access to the electronic files or paper
19 giving papers to Mr. Ginsberg.                                 19 files ofthe Synapse Foundation?
20             Well, there:s no way I gave them to Mr.            20           MR. GINSBERG: Objection to form.
2T Ginsberg6ecausa T didn'tfiave any papers. So I said            21           THE WITNESS: I fold you I don't know.
22 no. And then I had to go to the bathroom. And I had            22 BY MR. HEELER:
23 to go to the bathroom before. I was holding it in.             23     Q Do you know if there is anyone currently
24 But anyway. Anyway.                                            24 involved in the running ofthe Synapse Foundation?
25 BY MR. HEELER:                                                 25    A The people we said before.

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                                                       Page 66                                                       Page 68
   1                 N. SPANOS                                    1                N. SPANOS                                I
  2      Q Who are those people?                                 2           MR.   HEELER:    Yeah.  Where   does   he spen
   3     A I mean, it's -- I told you. Clufetos. I               3 the majority of his time?
f...4 forgot this guy's.name:,I don't know.-The.Danish           4 BY,MR.-HEELER:, ,, . . ,.                     ..
   5 guy. I forgot his name. I don't know. There's               5     Q More than 51 percent of your time, are you
  6 another person, two more people I don't remember.            6 in New York City, are you on the road, are you --
  7         One's like Tabby,  Tabitha something.                7           MR. GINSBERG: Just one minute.
  8 Tabitha something. I don't know     the last name.   Okay?   8  Objection. Assumes facts not in evidence. Assumes
   9 I don't. I mean, you know, it took me a long time to        9  Mr. Spanos  is any place 51 percent of his time.
 10 remember Herskowitz's name.                                 10           MR.HEELER: Well, he could tell me so.
 11      Q When was the last time --                            11           MR. GINSBERG: Weli, if you ask the
 12      A I don't think that way. I'm sorry.                   12 proper question, he could respond properly.
 13      Q When was the last time you or any entity             13 BY MR.HEELER:
 14 that you were affiliated with performed any                 14     Q Mr. Spanos, where do you reside?
 15 compensated or uncompensated       services for the Synapse 15     A In New York City.
 16 Foundation?                                                 16     Q   Do you maintain an office in New York City?
 17      A Say that again.                                      17     A   No.
 18      Q When was the last time you or an individual          18     Q Where do you maintain an office?
 19 -- or an entity with which you were affiliated              19           MR. GINSBERG: Objection.. Assumes
20 performed any compensated or uncompensated services on 20 facts not in evidence.
21 behalfofthe Synapse Foundation?                              21 BY MR.HEELER:
22       A    A few  months ago.  I mean, probably   a few      22     Q Do you have an office?
23 months ago.                                                  23     A Me?
24       Q What were those services?                            24     Q   Yes.
25       A I don't know. Tweeting. I mean, you have             25     A   No. I don't think so.
                                                       Page 67                                                      Page 69
 ]               N. SPANOS                                        1                N. SPANOS
 2 to understand that there's a community of people that,         2    Q Do you work -- do you currently work for a
 3 you know, do things without any permission or --               3 company or an entity?
 4       Q So you --                                              4           MR. GINSBERG: Do you get a W-2 or a
 5       A -- guidance or anything. There's a whole               5 1044 from any company?
 6   community ofsoftware holders. I mean, you're calling         6           THE WITNESS: Na
 7   it ICO whatever. But it's software.                          7 BY MR.HEELER:
 8       Q Did you have permission to perform those               8    Q Do you get a 1099 from any company?
 9   services when you performed them?                            9    A This questioning --
10      A I had -- at their request. Yeah. It wasn't             10           MR.GINSBERG: 1099.
11   even permission. It was --                                  11           THE WITNESS: No. I don't think so. I
12      Q And who made the request?                              12 don't know yet. I hope so.
13      A I think it was Clufetos.                               13           MIZ. GINSBERG: Just answer the
14      Q And how was that request made?                         14 question.
15      A One ofthe auditory apps.                               15          THE WITNESS: I just -- I'm trying to
16      Q Where were you when that request was made?             16 answer, you know, factually.
17      A    I don't really remember.                            17 BY MR.HEELER:
18      Q    Where do you spend the majority of your             18    Q Last year in --
19   time?                                                       19    A Oh, last year.
20      A    I'm on the road a lot, all over.                    20    Q 2018, did you get a 1099 from any company?
21      Q    Where do you spend the majority of your             21    A Not yet.
22   team?                                                       22    Q   In 2018, did you maintain an ownership in
23             MR. GINSB~RG: You mean New York as                23 any entity?
24   opposed to on the road or is he in New York more than       24    A Yes.
25   he's in the Isle of Man or --                               25    Q Which entities did you maintain an ownership

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                                                        Page 70                                                            Page 72
 1              N. SPANOS                                      1                N. SPANOS                                            ~r ,~1
                                                                                                                                      ..
 2 in?                                                         2 the Synapse group --
 3    A Oh,I don't know. A lot ofthem.                         3     A Yeah.
 4    Q Okay. Do you maintain an ownership in                  4     Q -- was it performed at the place you resided
 5 B(ockchain Technologies?                                    5 or out of the.place you worked in New York City?
                                                               6           MR. GINSBERG: Objection. Idon't have
   7 ' Q In 2018, you did~not maintain an ownership            7 any idea whatthat :question means.
   8 interest in Blockchain Technologies?                      8           MR: HEELER: Well, if he understands
  -9--- A No.         : -__ _ _      _—_. --..__.__._ - - ._ --9-it; he can-answer..-_ ---- -- -- --.. ..__ _._ _ _ _.:----. _ _
  10     Q In 2018,did any entity with whom you --            10           THE WITNESS: Idon't know what he
  11     A He's-not saying the name ofthe company             11 means. Can you say it again?
  12 right: ~ `                                               12 BY MR. HEELER:
  13           MR.HERSKOWI-'TZ: Blockchain                    13     Q When you were asked to perform services for
  14 Technologies Corporation.                                14 the Synapse Foundation a•few months.ago --
  15 BY MR.HEELER:                                            15 ~ A Yes. .
`16 •Q In 201'8,.did you maintain an ownership                16     Q -- was it out of your office in New York
  17 interest in.Blockchain Technolo~ies.~orporatian? .        7 City-that you perfor~r►ed:those-ser~ices2
  18     A - Yes. You're saying -=you said witih a Y.         18         ~ MR. GINSBERG: Objection. There was n
 CIA-That's-ax~oYhgr com-parry,-Block~ha n Technology. That's 1~ testi~onyt~at-hc-perfor-med-anyservie~s -
 20 --                                                        20           MR. HEELER: Yes: There was.
 21      Q I said technologies.                               21           MR. GINSBERG: No. There was testimon
 22      A Well,I didn't hear it. And then you didn't         22 that he -was asked to perform services.
 23 say corporation. There's a lot ofthem. It's a very        23           MR. HEELER: And he said he did.
 24 -- there's a lot ofcompanies with that name.              24           MR. GINSBERG: Idon't believe that's
 25      Q In 2018,.did Blockbhain Technologies               25 correct. Ask him the question. Don't stare at me.
                                                        Page.71                                                          Page 73
 1                N. SPANOS                                        1               N. SPANOS
                                                                   2. _. . __
                                                                                TIC WITNESS: I~e's'angrY; this guy. _,
 3     A I mean, ifI didn't want Yo tell you,I                     3 BY MR. HEELER:
 4 wouldn't have brought up the -- I'm trying to help you          4     Q Mr. Spanos, you were asked to perform
 5 ask me the question correctly.                                  5 services a few months ago on behalf of the Synapse
 6     Q That's-fine. That's.fine. In 2018, did                    6 Foundation.
 7 Blockchain Technologies Corporation have ac► office?            7     A Yeah.
 8     A Yes. Wait, x;009?                                         8     Q Did youperform services on behalf of the
 9     Q '18.                                                      9 Synapse Foundation?
10     A '18. Yes.                                                10     A Me? .OrIdon't understand'the question.
11     Q Wliere was that?office7                                  11           MR. GINSBERG: You're being asked in
12     A There was a couple of places used. What                  12 your individual capacity if you performed services for
13 does Blockchain Technologies have to do with this?             13 Synapse Foundation a few months ago. And the answer
14     Q Answer the question, please.                             14 is yes or --
IS     A Ithought this was Zap.                                   15           THE WITNESS: Paid or unpaid? Yeah.
16     Q Answer the. question, please.                            16 BY MR. HEELER:
17           MR. GINSBERG: Just answer then.                      17     Q Okay. And where did you perform those
18           THE WITNESS: Yeah. Ihad an office at                 18 services?
19 55 Wall Street. Ithink that's the address.                     19     A Idon't know whereIwas at the time. You
20 BY MR. HEELER:                                                 20 mean physically, in athree-dimensional world?
21     Q Now youmentioned previously that in 201$                 21     Q des. In athree-dimensional world.
22 you resided -- strike that. You mentioned previously           22     A I'm not sure. In 20 -- what year, '187 I
23 that you reside in New York City and that you had an           23 thinkI--
24 office for Blockchain Technologies in New York City.           24     Q You said a few months ago you were asked to
25 When you were asked to perform services on behalf of           25 perform services.                                               ~` _.-
                                                                                                         19 (Pages 70 - 73)
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                                                       Page 74                                                            Page 76
   1                N.SPANOS                                      1                  N. SPANOS
  •2     A ' Oh,a few months ago. :I don'txemember                2 Square is. I'm entitled to ask me about Satoshi
   3 where I was.                                                 3 Square. And when he tells me about it, I'll follow up
 .4•. :.~,Q, .When•youwere.asked~to.pecfgrm.th~ services          4 _ wjYh the appropriate questions.
   5 for-the Synapse Foundation a few months-ago, what were       5 BY MR.HEELER:
  6 you asked to do?                                              6      Q Go.
  7    A I don't remember. I think something,                     7            MR.GINSBERG: Mr. Heller, first of
  8 something to do with communication.                           8 all, don't talk to my client that way.
  9    Q Communication with whom?                                 9            MR.HEELER: I'm talking to you that
 10    A Just communication, like to the public or               10 way.
 11 something.                                                   11            MR.GINSBERG: Don't give -- excuse me?
 12    Q And did you communicate to the public?                  12            MR. HEELER: I was talking to you that
 13    A I don't remember. Probably -- can I -- I                13 way,not your client.
 14 don't know. Can I ask someone? I mean,I don't                14            MR. GINSBERG: Go was directed towards
 15 remember.                                                    15 me?
 16    Q Well, who would you ask?                                16            MR.HEELER: Go was directed to your
 17    A I would ask ifI did work -- I think it was              17 client. I apologize for that.
 18 supposed to be a tweet.or something I think. I don't         18 BY MR.HEELER:
 19 remember. I would ask probably the Danish guy or             19      Q Go. Speak.
20 Clufetos or someone.                                          20            MR. GINSBERG: We would not step
21    Q Are you familiaz with Satoshi Square?                    21 outside and discuss how to respond to your inquiry.
22    A Yeah.                                                    22 ThaYs a totally inappropriate suggestion. It is
23    Q What is Satoshi Square?                                  23 beneath you. And I'm surprised you would even suggest
24    A Satoshi Square is a group ofpeople that                  24 that. If you're representing to me in good faith that
25 meet and trade bitcoin.                                       25 Satoshi Square has a connection to whether Zap.org
                                                       Page 75                                                     Page 77
 1                 N.SPANOS                                       1                 N. SPANOS
 2    Q How often do they meet?                                   2 does or does not have an existence orjurisdiction or
 3            MR. GINSBERG: Objection. This is --                 3 whether there is New York jurisdiction over Zap.org,
 4            THE WITNESS: I have no idea                         4 I'll allow my client to respond.
 5            MR.GINSBERG: Wait, wait, wait, wait.                5            MR.HEELER: Thank you.
 6 Stop:'Pl~ase slew dawn: Ifgou'can make a proffer as            6            MR. GINSBERG:-But•I'd like that good
 7 to why this has anything to do with Zap --                     7 faith proffer representation from you.
 8            MR.I~LLER: I don't have to make a                   8            MR.HEELER: I will make a good faith
 9 proffer.                                                       9 representation that I have found a connection, at
10            MR.GINSBERG: Excuse me. Stop                       10 least online, between Satoshi Square and Zap.org
11 interrupting me, please. This deposition is limited           11 and/or the Synapse Foundation.
12 to whether there is jurisdiction with regazd to               12            MR.GINSBERG: Okay.
13 Zap.org.                                                      13            MR.HEELER: So I would like to ask
14            MR.HEELER: Mm-hmm.                                 14 your client questions about that.
15            MR. GINSBERG: All right. And I'm                   15           MR.GINSBERG: Okay.
16 asking you for a proffer as to how this is related to         16           MR.HEELER: Thank you.
17 that specific limited inquiry. If you're not going to         17           THE WITNESS: So like I said, what's
18 do it, I'm going to direct my client not to answer.           18 the question?
19 That's not right. You're taking --                            19 BY MR.HEELER:
20            MR.I~LLER: Absolutely not because if               20     Q What is Satoshi -- you said you are familiar
21 I do make a proffer, then you and he could go outside         21 with Satoshi Square.
22 and discuss what the answer is and come back and tell         22     A Yeah.
23 me what and what not.                                         23     Q   How are you familiar with Satoshi Square?
24            MR. GINSBERG: Mr. Heller.                          24     A I said it's people who meet and trade
25           MR. HEELER: I-Ie knows what Satoshi                 25 bitcoin or talk about bitcoin.

                                                                                                        20(Pages 74 - 77)
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                                                               Page 78                                                                Page SO
    1                  N.SPANOS                                           1                  N. SPANQS                                           ~,._~•~
   2       Q And do you'know whether the Synapse                          2 technotogy:and.explain the incredible.technology to
   3 Foundation andlor Zap.org has any connection with                    3 people. And I mean, I don't know what the definition
   4 Satoshi Square?                                                      4 ofspokesperson is because I'm not really from that
   5       A I don't think so. Ifthey were -- you know,                   5 world, you know? I'm usual(ybehind a computer all
   6 I don't know.                                                        6 the time.
   7              MR. GINSBERG: Don't -- don't guess.                     7          But I explain the technology pretty much.
   8              TfiE WITNESS:. Yeah, I:don't -- I don't                 8 If you're asking me what my'duties.are, I explain the
      -=~-I-don'-#-know.-It-'s-not tHat-I don'-t-cernember~-I-- -         9 technology-and-that's-what-I-do.---- - - ---
  10 don't know.                                                         10      Q Do you make any decisions relating to the
  11 BY MR.HEELER:                                                       11 hiring or firing of anyone associated with the Synapse
  12       Q So do you play any rolecurrently in                         12 Foundation?
  13 connecfion with any marketing of~Zap.org and/orthe                  13      A No.
  14 Synapse:Foundafion7                                                 14      Q •.Who -- do•you know who from.the Synap"se
  15              MR. GINSBERG: Objection. Assumes                       15 Foundation makes the decisions regarding the firing or
  16 facts not in evidence;whether Zap and Synapse,or                    16 firing?
  17 S.ynapse_does any marketing.             _~.~                       17 _~__A ._:I~iabody...~'heces~a-ona:hired, -.I-dcsn't
  18 BY MR.HEELER:                               g                       1&think you understand what.these things are. •It's not
  19 Q Does-Zap.org and/ar ~y~n~pse.do-any-mazketing -                   dA - what3~ou-thtnlr~if is. You tlunlE it's like-a-regular -
  20 an behalfofthat entity? .. . . .                                    20 company or something like that: Youjust don't °
  2.1      A I-don't know what market -= what you meth.                  21 understand whafit:is.
  22 You know,marketing; what does that mean? ''                         22         It's a bunch of people. And ifthey own the
  23       Q Does it do anything to promote itself?                      23 software, you know,:they make recommendations. And
~ 24       A .What does that mean?                                       24 somehow there's a consensus reached and there's
  25       Q Advertisements.                                             25 thousands and thousands of people- thatown it. So I
                                                             Page.79                                                                Page 81
    1                 N: SPANOS                                           1                 N. SPANOS
    2- -- A -- -Idan't:know if~it does-== you mean paid                   2 -don'#°think you'und~rstarid how 1t ~vorks.'
    3 advertisement? .I don't know.                                       3        You`re trying toy-- ydu're trying for me to
    4     Q Okay: Currently what role if anything do                      4 express to you some corporate structure. It doesn't
    5 you play --                                                         5 work that way. And there's thousands ofthese types
    6     A Pm like --                                                    6 of projects. And. none ofthem work that way.
    7             MR:GINSBERG: Wait,.wait. Let him                        7        So I don't know ifyou want a lesson. In
    8 finish.question.                                                    8 that I can explain, you know? But that's -- I don't
    9 BY.MR.HEELER: .;                                                    9 think you understand what it is.
   10     Q -- on behalf.ofthe Synapse Foundation?                       10     Q Well; maybe.it'll speed things along if you
   11             THfi WITN~S~~: Okay.;~ ~ .                             11 can explain into tn~.
   12             MR.GINSBERG~ Listen. Take your time.                   12           MR.GINSBERG: Don't --.don't --
   13          :THE WITNESS: All right. I want to                        13           THE WITNESS: I charge.a lot of money.
   14 give him his answers fast -- ..                                    14           MR.:GINSBERG:~ Ifthere are questions
   15 BY MR..E3ELLER: '             .                                    15 for --
   16     Q What     role do you play --                                 lb           THE WITNESS:-- for that, a lot.
   17     A -- because I'm frightened ofthis guy.                        17           MR.HELLBR: Mark that as Spanos B
   18     Q What role, if any, do you play on behalf of                  18          (Exhibit S.panos B was marked for
   19 the Synapse Foundation toddy?                                      19           identification.)
   20     A Okay. So I'm ad hoc spokesperson. I mean,                    20           THE WITNESS: So ifI go to the
   2i I've never'-- like i said,I-don't think =- you know,               21 "bathroom by myself; would you not be angry? I real.
   22 there's no organizational chart thafI know of. So                  22 go to the bathroom a lot. I'm on medicine for
I~ 23 I'm a spokesperson because I'm visible in the                      23 hypertension.
   24 community.                                                         24           MR.HEELER: Mr. Spanos, it's not
   25        I make suggestions on the incredible                        25 personal                                                            'l.

                                                                                                                  21 (Pages 78 - 81)
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                                                        Page 82                                                        Page 84
 I                 N. SPANOS                                       1                N.SPANOS
 2            THE WITNESS:- I don't need a conference              2    Q • In the•middle o€the fust~page; it says
 3   or anything. I need to go to the bathroom a lot.              3 advance for ongoing work and expenses.
 4            MR.HEI,LER: That's fine.~I apologize                 4    A Oh,so I don't know.          ,,,,M,,
 5 for suggesting that --                                          5    Q    What  ongoing  work?
 6           THE WITNESS: So my lawyer can stray                   6    A Well, like coding or something like that.
 7 here.                                                           7 I'm not sure.
 8           MR.HEELER: No,no. Your lawyer I                       8    Q Do you know who from the foundation, an
 9 trust implicitly.                                               9 individual, hired Blockchain on behalfofSynapse
10 BY MR. HEELER:                                                 10 Foundation?           _           . ., .
11    Q Mr. Spanos -- and by the way,if you do need               11    A Well, you know,that was a fight because,
12 to go to the bathroom, don't worry about it.                   12 you know,they had cheaper labor elsewhere in Poland
13    A Thank you. Thank you.                                     13 and Yugoslavia -- not Yugoslavia. Belorussia and
14          MR.GINSBERG: Do you have a copy of                    14 Armenia Cheaper labor.
15 what you're showing him?                                       IS       And it was a fight to even get it to this
16          MR.  HEELER: Yes.                                     16 coding house here, whatever. If this was for coding,
17          THE WITNESS: Oh yeah,right there. 55                  17 I'm not sure where it was in the timeline. I don't
18 Wall Street.                                                   18 know.
19          MR. GINSBERG: And just wait —thank                    19    Q Do you know who from Synapse Foundation --
20 you.                                                           20    A Yeah.
21          THE WITNESS: Wow.                                     21    Q -- hired Blockchain Technologies Corp. for
22 BY MR.HEELER                                                   22 ongoing --
23 Q Mr. Spanos,I've plabed before you three                      23    A Well, like I said, it was an argument --
24 documents Bates-stamped BTC_000991 through BTC_000993          24          MR. GINSBERG: Let him finish the
25 And they appeaz to be invoices to Synapse Foundation           25 question.
                                                        Page 83                                                        Page 85
 1                  N.SPANOS                                       1               N. SPANOS
 2   by Blockchain Technologies Corp.                              2          Tf~ WITNESS: I'm sorry.
 3      A Yeah.                                                    3 BY MR.HEELER:
 4      Q And they were produced by your counsel in                4    Q For ongoing work and to pay expenses.
 5   connection with this lawsuit. Do you recognize these          5    A What? Ongoing work and what?
 6   documents,these three pages?                 - - ••           6    Q And expenses.
 7      A    I don't recognize the exact document.   But I         7    A Where does it say that? It says that?
 8   can attest. I don't know.  I can probably -- yeah,            8    Q Yes. It does.
 9   whatever. I loosely recognize it.                             9          MR.GINSBERG: Objection. Assumes
10      Q Okay.                                                   10 ongoing work.
11      A I don't know that it's -- yeah.                         11          THE WITNESS: No. It says right here
12      Q In your at least recognition ofthe                      12 advance ongoing work and expenses.
13   documents, do you have an understanding of what these        13          MR.GINSBERG: Oh,I'm sorry.
14   three documents relate to?                                   14          TIC WITNESS: There was a consensus
15      A I think so. Yeah. I think so.                           15 somehow and, you know,there was an argument. Bu
16      Q Please let me finish the question before you            16 they wanted cheaper European or Asian work.
17   answer.                                                      17 BY MR.HEELER:
18      A Oh,I'm sorry.                                           18    Q Who is they?
19      Q What do these three documents relate to?                19    A So they gave some to us.
20      A I believe it was the foundation hired out               20    Q Who was the consensus with?
21   Blockchain.                                                  21    A People on the phone call.
22      Q To do what?                                             22    Q Who were on the phone call?
23      A I don't -- it doesn't say. I don't know.                23    A I don't remember. What date is this? Oh,
24      Q It says --                                              24 2018. I still don't remember. February. I don't
25      Q I don't remember.                                       25 remember.

                                                                                                      22(Pages 82 - 85)
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                                                                                Page 86                                                                Page 88
  1                N. SPANOS                                                               1              N. SPANOS
                                                                                                                                                                     '`
  2    Q Was work performed by Blockchain                                                  2          CQURT REPOR'IBR: Going offthe reca
  3 Technologies for Synapse Foundation?                                                   3 The time now is 12:28. p.m.
  4    A Yeah.                                                                             4         (Offthe record.)
  5    Q What type of work was performed?                                                  5          COURT REPORTER: We're back on the
  6    A So.Synapse Foundation hired Blockchain                                            6 record. The time now is 12:36 p.m.
  7 Technologies to do work. I'm not sure exactly what                                     7 BY MR.HEELER:
  8 this invoice is for, what part ofthe work.                                             8    Q Okay. Mr, Spanos;,you had previously
--..7-----,—li WL-LLl111:1V11Lt~"YCia'VL~1...UVI\-L'NlV W~-111\{i" --........     ..       9-mentioned-that you'refamiliar-with-Satoshi-Square.
10 coding maybe on the backend,some encryption maybe.                                     10    A Yeah.
I 1 I'm not sure. I don't remember the exact work. That                                   11 :Q .,:Have you ever spoken at;Satoshi Square?
12 "shoWd be -- I don't know.                                                             12    A Sure.                      ~.
13     Q Did Synapse Boundation pay for the work?                                         13    Q Okay. How often do-you speak at Satoshi
14     A Yes. Right there. ..                                                             14 Square?                ,,
15     Q '~t the time- Synapse'Roundagon engaged                                          15    A Oh,I don't know. Z don't know:;
t6 .Bloakchain Technologies to perform~work for it, did                                   16    Q More than once a°.year?
17 `yau have_a role with Blo~kehain_Technaingies                                          17 ~_::Ldan'_ticnaw _~ametimes..:              ._
18 Corporation?                                                                           18    Q Okay. And have you spoken in Satoshi Squ
19-===:~1-= -I.was:lobb3~ing-for--Bloekchan-~'echnologies.
20 I was lobbying the foundation for Blo~kchain `                                         20    A 2020?
21 Technologies to-:get some wank:                                                        21    Q Mm-hmm.
22     Q Did you hold a position at that time with                                        22    A I don't think so.
23 Blockchain Technologies.Corporarion?                                                   23    Q Did you speak gat Satoshi Square in 20.19?
24     A~ ~ Yes:                                                                          24    A :Listen, can I define Satoshi ~quare:to you
25     Q What was that position?                                                          25 better? Because --
                                                                                Page 87                                                                Page 89
    1                N: SPANOS                                                             1                 N. SPANOS
                                                                                                                    ,_.._:. _ .:. _.... ~... .. _. ,
   2 - --A--~ I-don'tknow:-The-bossc rT don't-know: T                                      Z ..   Q- Sure._.., _ _
   3 What was it? Shareholder? I'm not sure.                                               3      A    Okay. So Satoshi Square is a bunch of guys.
   4     Q Were you chief--                                                                4 And they don't even --you know,a lot ofthem don't
   5     A I don't know what it is. Yau know,I don't                                       5 evenhave their real name. And they:show up and they
   6 know.                                                                                 6 trade.
   7     Q Do you recall whether you were chief                                            7          5o when you say did I speak at Satoshi
I 8 executive officer at that time?                                                        8 _Square, does that mean that I -- was I distinguished,
', 9     A You know what? It probably says that in a                                       9 you know,thesetguys,they hate each other. They hate
  10 lot of places. And I'm not sure what the textbook                                    10 everyone. I don't know what that means. Was I --                    I
  1 1 definition ofchiefexecutive officer is. People                                      11      Q    Have.you been someone.for whom an
  12 might think I'm a businessman::But~I'm more a                                        12 advertisement--
  13 tEchnologist.              ~    E                                                    13            .MR. GINSBERG: Wait a minute. Were you
  14     Q Do you recall how Synapse Foundation paid                                      14 done, Nick?
  15 foc the servoes, whether it was wire, check?                                         15             THE WITNESS: Hmm?
  16     A I don't recall.                                                                16             MR.HEELER: Were you done? I'm sorry.
  17     Q Turning your attention to the~third page --                                    17 I interrupted you.
  18     A I think we're done. It's been two hours.                                       18             MR. GIN5BERG: Were you done with your
  19 I've got to go to the bathroom_                                                      19 answer?
  20     Q You want to go before I ask the next                                           20 BY MR.HEELER:
  21 question? __ . _                  _ __                                               21      Q    Were you done- with your answer?
  22     A I'd like to go to the bathroom.                                                22      A   I'm just saying he thinks like -- I don't
  23     Q Okay.                                                                          23 know what he thinks Satoshi Squaze is. Satoshi Square
  24     A So we're going off the recar~ "ire?                                            24 is a bunch ofrandom people that -- not random. It
  25     Q Yes.                                                                           25 comes from a group of people that were early bitcoin

                                                                                                                                          23(Pages 86 - 89)
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                                                          Page 90                                                       Page 92
  1                 N. SPANOS                                        1                N. SPANOS
   2 traders. We used to trade in the park under Lincoln.            2    A INs hazd to say. I mean, it depends what
   3 I think it was Lincoln statue in the north of Union             3 your definition ofsponsored is. Did they buy drinks?
.~ 4 ~Square,Park.. Which statue is•that?.:    ._ 4 .                4 Did.they -- I don't know. You know.what I mean? What
  5          MR. GINSB~RG: Keep going, Nick.                         5 do you mean?
 6           THE WITNESS: And then we traded in                      6    Q Did they buy drinks?
  7 Whole Foods. And the guy that runs it -- ran that, I             7    A Probably.
  8 don't know. In the beginning, there was like a meetup            8    Q Did they buy food?
  9 or something and there was some guy in Panama. Ross.             9    A I don't think so. Not in 2019.
 10 Ross. Ross. I don't know. Ross. Ross. And --                    10    Q Prior to 2019, did Zap.org buy food for
 11 BY MR. HILLER:                                                  11 meetups at Satoshi Square?
 12   Q Do you know where Satoshi Square is located?                12    A I don't think so.
 13     A    Nowhere and everywhere.                                13    Q How many times did Zap.org sponsor a meetup?
 14     Q    When you --                                            14    A I don't know.
 15      A   It's a decentralized thing. So we're                   15    Q Was it mote than once?
 16 decentralists by definition.                                    16           MR. GINSBERG: Let him finish his
 17    Q Do individuals ever meet up in a particular                17 question.
 18 location?                                                       18           THE WI"INESS: I'm sorry.
19    A We used to meet up in the north ofUnion                     19 BY MR.HEELER:
20 Square in New York City where it started in like 2012,           20    Q Was it more than once?
21 2011, 2012, 2013.                                                21    A I don't remember. Maybe. Because the
22    Q Are you familiar with --                                    22 reason why I'm answering that way is when people get
23      A    Early 2013, late 2012.                                 23 together, everybody throws their name on stuff. So if
24      Q    Are you familiar with a location called 45             24 they threw Zap's name on it, you know what I mean, no
25 Mott Street in Basement?                                         25 one enforced --
                                                          Page 91                                                      Page 93
 1                   N. SPANOS                                1                  N. SPANOS
 2       A Oh, yeah. Yeah.                                   2      Q    Who   is they?
 3       Q And the individuals that make up Satoshi           3            MR. GINSBERG: Wait. Were you done
 4    Square ever meet -- have they ever met at 45 Mott      4 with your answer? No one enforced?
 5    Street in the Basement?                                 5            THE WITNESS: Nobody enforced, you
 6       A I think so. Yeah.                                 6 know, loose, decentralized type people. No one
 7       Q Okay. And have they met there more than           7 enforced, oh, you said that you sponsored or whatever.
 8    once?                                                  8  You didn't give any money.
 9       A Yeah.                                             9             You know, it was nothing like -- if
10       Q Have they met there -- do you recall   whether   10  there  was  a meetup, everyone threw their name in to
11    they met there --                                     1 1 try to, you know, bring their group of people or
12       A This is not in the beginning of Satoshi          12 people that followed them or something to bring as
13    Square when -- you know, in the -- you're saying just 13 many people to the place as possible. Do you
14    the -- what year is that?                             14 understand me? It's not like an exclusive thing.
15       Q 2019.                                            15  BY MR.I~LLER:
16       A Yeah. Okay.                                      16      Q Are you saying --
17       Q Were there events at Satoshi Square ever         17      A If that's what you're saying, you know --
18    sponsored by Zap --                                   18      Q I'm not saying anything.
19       A The 45 --                                        19      A Well, I'm sorry. Am I saying what?
20              MR. GINSBERG: Nick, you've got to let       20      Q That the individuals who indicated that
21    him finish.                                           21 Zap.org was sponsoring an event at Satoshi Square did
22              THE WITNESS:     I'm sorry.                 22 not have permission to put Zap.org's name --
23    BY MR. HEELER:                                        23      A There's no one in charge of Satoshi Square.
24       Q Were there events or meetups in   Satoshi        24  IYs just a gathering of people. So when people say,
25    Square ever sponsored by Zap.org?                     25 hey, Satoshi Square, all this means, you know, if

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                                                            Page 94                                                                 Page 96
   1                N. SPANOS                                            1                N. SPANOS
  2 you're a bitcoiner, show up. Josh Jeffries -- no,                   2        That happeris.all the~time. Like someone
  3 Josh. I forgot his last name -- used to have creative               3 asks one foundation. They ask another foundation.
  4 confrol creative control. I don't know. Used to -                   4 You know,and then if you have'a good name, you might
  5 have a curated thing.                                               5 be able to get ~0 foundations' names. And you would
  6        But this is back six years ago. And he                       6 get•their cryptocurrency sent to you. And they don't
  7 moved out ofthe counhy. And his -- he, youknow --                   7 care where the hell it is;as long as, you know,they
  8 and plus, Satoshi Squaze is all over the world. It's                8 believe that 3~ou're_going to put their logo somewhere.
 ~--like-a-Toastmasters:-How-aboutToastmasters? I don't- --           --9--------~o-I'~-not-sure-if-I-was-atthatevent— ---
 10 know what Toastmasters is:                            ~            10 I've.been --.I think they had events there for a long
 11        But if there was aToastmasters-ofbitcoin -                  11 time, Satoshi Square for how many --many times,
 12 -but Satoshi Square doesn't.train you. You know,                   12 right? And I°might have been there twice I'think or
 13 it's not an entity. It's not-- I'm toying to explain               13 three times. And.they might have had them there for I
 14 to you what it is in the real world.'You guys have --              14 dolt know how many times. :
 15     Q Who is Rachel~Siegel? •.                                     15     Q And on --
 16 :A 'Rachel'Siegel is an influencer:                                16     A Dozens. I'm not sure.                         .s ;
_17     S~ Do.you_knaw~vhether_she has_ever~hosteclan                  17_-_..Q--:./~nd:on--_::_~ c_,__.::_._ . :. _-- '-          -
 18 event at Satoshi Square at45 Mott? ~`                              18     A I had no control.
 1-9- -.A -So when you-say has.sh~-~vec hosted an =                    19~- a~-Q - Nb=control over?
 20 event, did she have th¢ microphone? Is that whaf~.                 2U     A Over those events or design ofthe events or
 21 you're~saying7                                       "'            21 -- meaning the events you're talking.about.'I'eah:
22      Q It says she's the~host,so.         -                        22 And people -- I mean;-it happens all the.time. Did
23      A Yeah. But did you•lookup if there were any                  23 someone use my name'to:get ~flething? Maybe.
24 other hosts on the same night? You know what I mean?               24             MR.GINSBERG: Don't speculate or
25 I'm not sure.                                                       25 guess.                                               °
                                                       Page 45                                                             Page 97
  1                N. SPANOS                                           1                 N. SPANOS
 -2 - Q Have you ever witnessed her being a'host?' '.                  2'           THE WITNESS:"Yeah.I'eah~
  3    A Yes.                                                          3            MR.GINSBERG: Just -- ifthere's a
  4    Q And have- you ever witnessed her as being a                   4 question,just respond to it,
  5 host ofan event at Satoshi Square that Zap.org                     5            THE WITNESS: Okay. I'm sorry. Ijust
  6 sponsored?                                                         6 want people to get -- you know, understand the
 7     A So if -- I'm not sure exactly what you                        7 industry.
  8 perceive sponsoring is. I think we have two different              8            MR.GINSBERG: Okay. There's no
  9 ideas of what the word sponsor means. So --                        9 question pending.
10     Q What's your idea ofthe word sponsor?                         10            THE WITNESS: You know what'I mean?
11     A Sponsors like rent the place out or do, you                  11 Like you're trying to fit it into this square world.
12 .know, all kihds ofstuff like that. So yeah, you                   12 It's•a disorganizetl^hodgepodge of, you know,
13 know,Zap.org never rented a place, you know, where                 13 cryptocurrency enthusiasts, anarchical capitalists,
14 did you say? What was the address?                                 14 libertarians. I mean, it's justa-bunch of cats
IS     Q 45 Mott.                                                     15 herding eats.
16     A That's a bar.                                                16            You know? It doesn't -- there's no
17     Q So, but Zap.org bought the drinks?                           17 rhyme or reason. I don't take anything personal. I
18     A I could -- I could imagine that Zap.org sent                 18 just don't do anything. I try not to do -- I mean,
19 to someone, someone requested for them to pay for the              19 that's what it is, you know,trying to like paint some
20 drinks. And those guys sent some kind of                           20 kind of picture to people who don't understand the
21 cryptocurrency which thereby someone else,. not me,                21 industry.
22 converted the cryptocurrency and bought drink tickets,             22 BY MR.HEELER:
23 I believe, because there were drink tickets being                  23     Q But you had -- but you had nothing to do
24 handed out. I assume that would be it. I really                    24 with the sponsoring by Zap.org of any of these events
25 don't know.                                                        25 Is that correct?

                                                                                                                25(Pages 94 - 97)
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                                                   Page 98                                                         Page 100
 1            N. SPANOS                                       1                 N. SPANOS
 2    A Yeah. I did not pay for them:                         2     A On behalf of?
 3    Q You didn't personally?                                3     Q Yes.
                                                              4            MR.GINSBERG: Yes. .On behalf of was
 5     Q Okay. So you have no idea how many events            5 the question.
 6 Zap.org sponsored and paid for the alcohol at these        6            THE WITNESS: That's a pretty good
 7 events?                                                    7 question you've got there. Like I said, I have 40 or
 8     A No. I get -- anyway, whatever. I get                 8 20 or 30 slides and then I put in a couple Zap.org
 9 emails, or not emails. What the hell is it called?         9 slides at the end ofthe presentation, of my
10            MR. GINSBERG: There's no question.             10 presentations to explain the technology.
11            THE WITNESS: Tweets.                           11 BY MR.HEELER:
12 BY MR. HEELER:                                            12     Q Okay... And so, those presentations --
13    Q Have you ever represented Zap.org in --              13     A   And I've done that in Belarus. I've done it
14 yeah; at any tradeshows?                                  14 -- I don't know ifI did it in Belarus. I've done it
15    A Yeah. I put the banner. I have a couple of           15 all over the world.
16 slides at the end of a 30- or 40-slide presentation       16     Q And you've done it in New York?
17 that I have. I have, you know, two or three slides        17     A Yeah. I think so.
18 for Zap.                                                  18            MR.GINSBERG: Don't guess.
19    Q Have you ever stood in a Zap booth at a              19            THE WITNESS: I don't remember.
20 tradeshow7                                                20            MR.GINSBERG: Do you remember ever
21    A I've sat at a Zap booth when I was tired.            21 doing it in New York?
22    Q Have you ever stood in a Zap booth?                  22           THE WITNESS: Listen, it's a blur. But
23    A Probably stood before I sat.                         23 I believe I must have done it in New York.
24    Q Okay. And have there been Zap booths around          24           MR. GINSBERG: Don't --
25 the counhy?                                               25           THE WITNESS: I've done it in Florida.
                                                   Page 99                                                         Page 101
  1               N. SPANOS                                    1                 N. SPANOS
 2     A Around the world probably.                            2 Is that okay?
 3     Q Okay. Ever a Zap booth in New York?                   3           MR. GINSBERG: Nick, do you recall --
 4     A I don't remember. But yeah, maybe. Yeah.              4           THE WITNESS: I don't -- listen --
 5 Maybe. I don't remember. Maybe.                             5           MR. GINSBERG: -- ever doing it in New
 6     Q When --                                               6 York?
 7     A Do you have something that can refresh my             7           THE WITNESS: I'm not a hundred percent
 8 memory? Because I don't remember.                           8 positive. I'm 78 percent. You know,I'm not a
 9     Q Well, Ijust --                                        9 hundred percent positive because I don't remember.
10     A I've been to dozens and dozens and dozens of         10 Yeah. I've done it in New York, meaning the slides.
1 1 tradeshows over the year. I don't remember what cir      1 1 BY MR. HEELER:
12 I'm in, you know.                                         12      Q Yes.
13     Q Have you ever been to a tradeshow --                13      A I've had two or three slides after a long
14     A The hotels look the same to me.                     14 slideshow for Zap. Yes.
15     Q Have you ever been to a tradeshow in New            15     Q In New York?
16 York relating --                                          16     A Yes. I remember now. Thank you. In
17     A I have. But Idon't --                               17 addition to --
18           MK. GINSBERG: Let him finish the                18           (Exhibit Spanos C was mazked for
19 question, Nick.                                           19 ~          identification.)
20           THE WITNESS: I'm sorry.                         20 BY MR.I-I~LLER:
21 BY MR.HEELER:                                             21     Q I only have two ofthese. But I'll make a
22     Q Have you ever been to a tradeshow in New            22 copy.
23 York which you were there on behalf of Zap.org?           23     A That doesn't look like me.
24     A On behalf ot?                                       24            MR. GINSB~RG: But I want to finish
25     Q Or the Synapse Foundation.                          25 your question in addition to what you were asking him.

                                                                                                 26(Pages 98 - 1 O 1)
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                                                      Page 102                                                                  Page 104
  1                 N. SPANOS                                          1                N.SPANOS
                                                                                                                                           ~."~
  2            MR.HEELER: In addition to?                              2    A Or 80 something maybe. I don't know what
  3            TIC WITNESS: You want me to finish the                  3 the definition ofa tradeshow is. But, and ofthose
  4 question?                                                          4 times,I'm not sure. I'm not sure how many times
  5            MR GINSBERG: I want you to fini9h the                   5 there was a booth. Like before you-asked me about a
  6 answer. You said you had two slides after a long deck              6 slide show. There've been events that, you know,Zap
  7 ofslides in addition to something. And-then you                    7 was at. They had booths. I wasn't there.
 •$ stopped. You were interrupted.                                     8    Q But you know Zap has had booths at
-9 -- -- ---'FHEWITNESS~I-don'-t-remember-what I                      -9-tradeshows-in-New-York: -You-don-t-lrnow-how many:
10 was saying.                                                       10 Zap has had booths.
11 BY MR.HEELER:                           ,.                        11     A I don't -- yeah. ijust`don't know the
12     Q Okay. Mr. Spanos;I've pl~eed:before you                     12 exact number or -- I mean, now I'm recollecfii►g. I
1~3' what is a --                                                    13 said before that78 percent. But ahundred --you
14             MIt: GINSBERG: Is~this ~- Pm sorry.                   14 know, 78 percentIthought. But now I'm recollecting
15 Is this for me?                                                  I5 a little more. Ijust don't know how many times.
16             MR.HEELER: Yeah. You"can have that.                   16           MR GINSBERG: Seventy=eight percent of
17_BY MR.NELLER:                 -      --                          _l~_whatT_.. _ .__ _..       _      ..:, . . . ._ ._.. . : .
18     Q There's.a dobuttient that's`been marked as                  18            THE WITNESS: Seventy-eightpercent of
19•-defendant -- Spanos-G. - - ~ • '- -                             19 my-brain-is sayngtyes.--
20     A I can't see .it.- >                                         20           MR. GINSBERG: Yes what?
21     Q And it appears to be a pichue ofyou in                      21            THE WITNESS: Yes. Zap has had booths
22 front ofa Zap.org bbofh. Do~you recognize that?                   22 in New York. Ijust don't remember a°hundred percent
23     A Yeah. It looks like the inside of a hotel                   23 where. For sure Idon't remember-when or what the
24 with a Zap.org booth wHich~I've had in dozens of                  24 name of the tradeshow was~or who was there or even if
25 dfferentcountries around the world.                               25 Iwas there. For sureIdon't remember,that.
                                                        Page- 103                                                            Page 105
 1•               N. SPANOS                                           1                  N. SPANOS
                                                                                                 ._ ._ .. .. . __ . . _    -
 2     Q - And have'you -- do you recall ever i~eing in              .Z BY MR. HELL,ER: -__
 3 front of a booth ofZap:erg in New York City, in a                  3 ~ Q Dayotrknoiv--
 4 hotel in New York City?                                            4      A Or even ifIhave known that.at the time
 5     A I could believe;that I have been. But I                      5 that it happened. Imight have learned after. But
 6 don't remember this certain -- like I couldn't tell                6 it's all a blur to me. There's booths all over the
 7 you what hotel this is or what event it is.                        7 world. There's booths in all overthe world.
 8           MR. GINSBERG: Nibk, do you recall in                     8     Q Do you know the purpose of the booth that
 9- NewYork-being in front ofa Zap.org --                             9 Zap has at a particular tradeshow, why it was placing
10           THE WITNESS: Yeah. I said 78 percent.                  10 booths at tradeshows?
11 So now it's probably more. ljust don't remember                  11      A To explain the:technology.
12 because there's so many events that I get invited to.            12      Q Okay. And did Zap have- individuals.that it
13 BY MR.HEELER:                                                    13 -- paid or unpaid, representing the company at these
14    Q Do you know how many tradeshows there are in                14 booths to explain the technology?
15 New York City annually relating to bitcoin?                      15              MR. GINSBERG: If you know. Don't
16    A Probably a lot.                                             16 guess.
17    Q And does Zap.org have a booth each time?                    17              THE WITNESS: Who have explained?
18    A I don't think so. No. No way.                               18 Yeah.
19    Q Does Zap.org have a booth at various times                  19 BY MR. HEELER:
20 during these tradeshows in New York City?                        20      Q And at times, were you one of those
21    A Zap:org;I- mean;-now with this picture,I                    21 individuals in the booth to explainfile teohnology7
22 don't know. Probably. It's been I'm not sure how                 22      A Listen, whenIsit at a booth, all of a
23 many times. But there have probably been hundreds, at            23 sudden there's a big crowd. Ican't even breathe,
24 least a hundred tradeshows in New York probably.                 24 that comes around me. So amI-- doIhave to man the
25    Q Yes.                                                        25 booth? No.

                                                                                                          27 (Pages 102 - 105)
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                                                                   Page 106                                                  Page 108
 1                  N. SPANOS                                                  1             N. SPANOS
 2     Q But there's usually somebody --                                       2    A I don't think so.
 3     A Is there a schedule? Am I on it? No.                                  3    Q Is he currently the technical director of
 4     Q ...Is there -- -~,r.ne.-M.,r. v,.w.,^.~wu...~..,..e~...

 5     A I don't even know ifthere's a schedule.                               5     A I don't think so.
 6     Q But to the best of your knowledge, there is                           6     Q Was Tom St. Laurent ever the technical
 7 someone with knowledge ofthe technology who would be                        7 director of the Synapse Foundation?
 8 at the booth to explain the technology.                                     8     A If there was someone to be called, meaning
 9     A I suppose. I hope so. I hope so. You?                                 9 like is aid before that these titles are really not
10     Q Are you familiar with an individual by the                           10 that -- have any meaning whatsoever. But is he a
1 1 name of Tom St. Laurent?                                                  1 1 smart guy and gave good suggestions and good
12     A Yeah.                                                                12 recommendations? Yes.
13    Q Please tell me how you're familiar with Tom                           13     Q Was Tom St. Laurent ever compensated by th<
14 St. Laurent.                                                               14 Synapse Foundation?
15    A Tom St. Laurent is a technology guy. And                              15     A I'm not sure. I think so.
16 how I met him? What's the question?                                        16     Q Do you know where Tom St. Laurent resides?'
17    Q How are you familiaz with him? How'd you                              17     A No.
18 become familiar with him? How'd you meet him?                              18     Q Do you know what state he resides in?
19    A Okay. Thanks. I'm not familiar with                                   19     A I'm thinking New Jersey. I don't know.
20 anybody.                                                                   20     Q Do you know if Tom St. --
21    Q I don't want to know.                                                 21     A Or New York or New Jersey. I don't know.
22    A I'm just saying I don't know what you mean                            22 Connecticut. New York, New Jersey or Connecticut.
23 by -- that's not my -- that's not my addiction there.                      23     Q Do you --
24 I met him -- I met him -- I think I met him on Wall                        24     A I'm not sure if he resides there. But I
25 Street one time.                                                           25 know that he -- you know --
                                                                   Page 107                                                  Page 109
 1               N. SPANOS                                                     1                 N. SPANOS
 2    Q Okay. Was Tom --                                                       2     Q Do you have any --
 3    A The first time.                                                        3     A He has slept there in the past. Maybe it's
 4    Q Was Tom St. Laurent ever affiliated with the                           4 a girlfriend. I don't know.
 5 Bitcoin Center of New York City?                                            5     Q Do you know if Tom St. Laurent is employed
 6    A Yeah. No. No.                                                          6 by an individual or an entity?
 7    Q Was Tom St. Laurent --                                                 7     A No.
 8    A He came by the Bitcoin Center. But I'm not                             8     Q do you know whether he maintains an office
 9 sure how many times. But I could probably count it on                       9 to work out of?
10 one hand. I don't remember.                                                10     A No.
11       I only remember him like, you know,just                              11     Q Have you ever visited Tom St. Laurent at an
12 like 200 people every Monday, 300, 500 people every                        12 office?
13 Monday,300 other people every Thursday,40 or 50                            13     A Have I seen him in an office?
14 people there day to day, every day. Just like them.                        14     Q Yes.
I S He came by.                                                               IS     A Yeah.
16    Q Okay. Did Tom --                                                      16     Q And where was that office located?
17    A He had no position at the Bitcoin Center.                             17     A I've seen him in my real estate office.
18 The reason why you're asking me this question is                           18     Q Your personal real estate office or your
19 because the default ofthe programmers were to -- the                       19 entity?
20 default ofthe little box that said affiliation or                          20     A Not my personal real estate office. I used
21 previous job or I don't know what -- it doesn't say                        21 to have shares of a corporation with some other
22 anything. It just says Bitcoin Center under a bunch                        22 people. And there was a real estate office.
23 of people. That was the default of that website.                           23    Q And so, you ►net him in your office?
24    Q Is Tom St. Laurent, is he currently the                               24    A No. Imet him on Wall Street.
25 technical director of the Synapse Foundation?                              25    Q No. I'm asking --

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                                                  Page 110                                                        Page 112
                                                                                                                               ,,....~
 1                  N:SPANOS                                   1               N. SPANOS                                      /`. ..~i
 2     A    I'm sorry.                                         2    A Not that I know of. I don't think so.
 3     Q    -- if you ever had a meeting with him in a         3    Q Do you have any access to any electronic
 4 business office. And you said it was a real estate --       4 devices that would have Steve Geros' business address?
 5 your real estate office.                                    5    A I don't know.
 6           MR.:GINSBERG: Objection. He didn't                6    Q .Have you ever communicated with Steve Geros
 7 say he'had a meeting with him:- '                           7 electronically?
 8          TI~.WITNESS: Yeah. You asked me --                 8 A Yeah.
  -= --- --MR—G- I~T~B'ERG - You~ask~d-him-tf he eve 9 - Q . I?~-you maintain-eopiesof-electronic emaiis -
10 saw him in an office.                             10 that are received from Steve Geros?
11 BY MR.HEELER:                                              11    A No.
12     Q Saw him. Okay. I:apologize. Did you ever             12          MR. GINSBERG: Objection. There's been
13 .see:Mr. St..Laurent in an office that was not an          13 no testimony there were electronic emails received
14 office that you worked out of?                             14 from Steve Geros.
15     A In an office?                                        15 -          MR.HEELER: Say.that again?
16     Q ,Yeah  !- a                                          16            MR:GINSBERG: The testimony was not
17     A YQ1~r~~sking.me.i~_y~.ulctia~t,lv►~orked.out .       1a~ttiat.he.receiuedelec~onic:emails&camSteue_(aeros.
18 of an .office Inever said that:I-saidIowned part           18 You asked him if he communicated electronically.
19. ofa real.estate company. . .. -.     ~.    -              19         ~ ~THE~WITNESS: Yeah.
20     Q Okay. Let's go back just to make this                20            MIt. GINSBERG: And as Mr. Spanos .
21 clear. Have~you ever met with Tom St. Laurent in an        21 previously told you, that includes phones and phone
22 office in New York.City?                                   22 apps.
23     A Yes.                                                 23 ~          MR. HEELER: Gotcha.
24     Q •Okay. How many times?                               24 BY MR. HEELER:
25     A Idon't 3'emembeT.                                    25      Q Have you ever communicated with Steve Geros
                                                  Page 11.1                                                        Page 113
 1             N. SPANOS                                       1              N. SPANOS
 2     Q More than once'?                                      2 through email?
 3     A Yes.                                                  3    A Idon't know. Probably. Ithink.
 4     Q Do you recall where that office was?                  4    Q Have you performed a search of your email to
 5     A Yes.                                                  5 see if you found any emails with Steve Geros?
 6     Q Okay. Where was that office?                          6    A Ihad someone perform the search becauseI
 7     A It was at a real estate company whichI                7 don't really get into the email thing.
 8 owned shares of whichis not there anymore.                  8    Q Who performed the search?
 9   Q Did you ever meet him in a different office             9    A Idon't remember. Some girl.
10 in New York City?                                          10    Q    When was the search performed?
11    A Idon't remember. Idan't think so. No.                 11 - A Hold on. Let me think. Let me think. I
12    Q Do you have any access to any electronic              12 don't remember who looked at the computer and went
13 devices that would have Tom St. Laurent's address?         13 through the stuff.
14     A No.                         ~               14             Q Do you recall when?
l5     Q Do you have access to anyelectronic devices 15             A Idon't know. A few months ago-andIgave
16 that would have Steve Geros' address?         16 them to the lawyer.
17          MR. GINSBERG: I'm sorry? What was th 17    Q What did you give to the lawyer?
18 lname?                                                     18    A    A bunch of emails. They didn't give them to
19         MR. HEELER: Steve Geros. G-E-R-O-S.                19 you?
20         THE WITNESS: No. Where he lives?                   20    Q Emails with Steve Geros?
2i Where these guys"li'Ve?                                    2I A I'm not sure. You're asking me --you're
22 BY MR. HEELER:                                             22 talking to someone who doesn't really read the email,
23     Q Yeah.                                                23 right? And then you're asking me ifIsent or ifI
24     A No.                                                  24 had an email from someone. Ihave an email from a lot
25     Q Do you have any access to --                         25 of people probably. They don't get answered. Ihave

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                                                       Page 114                                                          Page 116
   1                N. SPANOS                                       1               N. SPANOS
   2 unanswered email in my world. My world is a bunch of          2 waywith Zap:org?
   3 unanswered email because I can't read.                        3     A It just sounds familiar. The name sounds
.- 4       d mean,I.know.how~toaead..I.used to read.               4,.familia~from,you.know,.like.many --.a few:years ago.
   5 But itjust hurts me too much and it makes me dizzy.           5 I think I'm not sure.
   6 So I've had many eye surgeries. So I have a very high         6     Q Okay.
   7 white blood cell count because I was down at the              7     A Maybe that's some Wall Street guy. I don't
   8 Ground Zero. And I got 20,000 parts per million               8 know.
   9 lymphocytes. And I'm probably about to die-out here           9     Q I'm going to take atwo-minute break. I'm
 10 with this coronavirus, I should not be out here.              10 going to talk to my client for a minute and then we're
  11 •     But I came out here•to answer your                     1 1 going to decide what additional questions to ask,
 12 questions. So I'm trying to. But you're asking me             12 okay?
 13things that probably-r_ anyway..Keep going. I'm .              13           MR.GINSBERG: Sure.
  14 answering everything you've got. I'm answering               14           THE WITNESS: Can I go to the bathroom
  15 everything you're asking me accurately I believe.            15 again?
 16     Q So do you know whether you have unanswered              16           MR.HEELER: Yes, you can.
 17 emails from Ben Young?                                        17           T'HE WITNESS: All right. Thank you.
  18    A I have no idea. Probably. I'm not sure                  18           MR.HEELER: We're going offthe
 19 because I tell everyone don't send me any emails              19 record.
 20 because I don't answer them. Did you send me emails           20           COURT REPORTER: We're going offthe
 21 that I haven't answered?                                      21 record. The rime now is 1:08 p.m.
 22    Q Do you have --                                           22           (Offthe record.)
 23    A Mr. Ginsberg?                                            23           COURT REPORTER: We're back on the
 24           MR.GINSBERG: I'm not being                          24 record. The time now is 1:14 p.m.
 25 questioned.                                                   25           TIC WITNESS: Thank you. Thank you.
                                                      Page 115                                                             Page 117
  1               N.SPANOS                                         1                N.SPANOS
  2          Tf~ WITNESS: Can you answer the                       2           MR.HEELER: No problem.
  3 question?                                                      3 BY MR. HEELER:
  4          MR.HEELER: I can't answer that                        4     Q Mr. Spanos, who built the technology for
  5 question because it would be an attorney-client --             5 Zap.org?
  6          TIC WITNESS: Well, he's laughing                      6     A A-bunch ofpeople.- - ~ ~ - - ~ • - -         ••
  7 because, yeah, I don't read email.                             7     Q Okay. Could you name them?
  8 BY MR.HEELER:                                                  8     A A lot I think were bounties. So a lot of
  9    Q Okay. Now we're going to talk about tom St.               9 misconceptions about this industry, which is a new
 10 Laurent. Do you have unanswered emails from Tom St.           10 industry and a lot ofpeople don't understand is that
  11   Laurent?                                                   11 most ofthe work is done with bounties to the
1 12      A I'm not sure.                                         12 programmers that are known by their handle or maybe
  13      Q ~ Same question regarding Eric Dixon.                 13 not known because it doesn't matter because it's an
  14      A I'm not sure. I know that there's 200,000,            14 open source project.
  15   300,000 unanswered emails, unread emails in my             15        And if they enter into the GitHub and that
  16   mailbox.                                                   16 branch is accepted, they would get some kind of bounty
  17      Q Who is -- are you familiar with an                    17 in cryptocurrency from the foundation. So it's a very
  18   individual by the name ofEvan Renov,R-E-N-O-V?             18 big communication gap because this indushy's not like
  19      A No. Maybe. What's the name again?                     19 any industry that anyone's seen before. And that's
  20      Q Evan Renov. R-E-N-O-V.                                20 why the questions are alittle -- many ofthe
  21      A Sounds familiar.                                      21 questions are alittle -- they could have been better
  22      Q Do you know whether he's affiliated in any            22 questions if you understood the industry.
  23   way with the Synapse Foundation?                           23       I'm not saying that you're not smart.
  24      A I'm not sure.                                         24 You're a very smart, brilliant guy. This is a certain
  25      Q Do you know whether he's affiliated in any            25 type ofindustry that it's more on the -- fancies

                                                                                                      30(Pages 114 - 117)
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                                                         Page 118                                                                Page 120
   1                N. SPANOS                                         1               N. SPANOS.
  2 itselfto be ofthe decentralized narion -- nature,                                                                                        f
                                                                      2   A No, no.Idon't --Ididn't- say that you
  3 which -- so bounties such~as the developer of -- the              3 made it up. Ijust said I'm not really familiar a
  ~4 creator ofBitcoin. No.one knows who he is. He did                4 hundred percent. Icould see where Rhis was created.
  5 an incredible job. He has a pseudonym named Satoshi               5 !But I'm not familiar with this document myself
  6 Nakamoto. But no one knows who he`is.                            b personally. That's what I'm saying.
  7        So; many =~ a:lot ofcode is written through               7 ~ • Q Do you know whether other than these three
  8 bounties and others. And if you go on the GitHub, you            8 invoices thatare next to defendant's Exhibit B in the
- I.--know;-you'd-see-there's-hundreds-off-people:=I-dori-t-- -     —9 -aggregate-amount=pf $~O;000~vhetherthere-was-any
 10 know how many people, from all walks of-- you don't             10 addirional money paid by the Synapse Foundation to
 11 even know who they are because they111 newer tell you           11 Blockchain Technologies --
 12 probably,                                        s '            12     A Probably.
 13     Q So did Blockehain Technologies Corporation                13     Q -- forservices provided on its behalfl Wliy
 14 help'bdild'---                                                  14 do you say probably? Do you --
15      A Some part. Yeah.                                          15 - A I'm not an accountant. I'm not the
16      Q --+Zap.org7         ,                                     16 accountant: I'~nnot anything. Idori't know-about
1Z __T~IR~G~N~IIER~i:.-I.ethim_finishhis- --                        -N--~~ra~.-a-wawa-a-.••-a-caaia~asu-a-~swrr~rc.-rwvHt-- __

18 question.                                                        18 trust myself to see. Maybe it's the wrong thing.
19            THE WITNESS: I'm sorry. I'm sorry                     19 MaybeIshould gef a projection screen TV and sit in
20 BY.MR.HEELER:                  •,                                20 front of it all day --
21      Q Zap.org. And the answer~is some part.                     21    Q From what --
22      A Yeah. Some part probably. ..                              22    A -- and by to read.
23      Q Okay: Did BlockchaimTechnologies                          23    Q From what period of time :to what period of
24 Corporation start,the process.ofbuilding the ..                  24 time did Blockchain Technologies Corporation provide
25 technology or that was started somewhere else?                   25 services for the Synapse Foundation?

                                                         Page.l                                                                  Page 121   i
 1                N. SPANOS                                          1                N. SPANOS
 2     A Oh,I don',t know: Blockchaln Technologies                   2     A ~-I don't know. Idon'f know exactly. I
 3 Corporation was paid by the Synapse Foundation to help            3 mean,Idon't remember.
 4 out in some planes after I begged and pleaded for them            4      Q Who --
 5 to hire Blockchain Technologies for a few things.                 5      A . NotIdon't lmow. Idon't remember.
 6     Q And how was Blockchain Technologies paid?                   6     Q Who from Blockchain Technologies Corporation
 7 In bitcoin?                                                       7 worked on the Synapse Foundation project:for which
 8     A You gotit right there:                                      8 Blockchain Technologies was paid?
 9    Q Was itpaid in U:~:dollars or in~ -- ~ -                      9     A :Say that again.
10 'A I don't know. Xou showed it to me. I                          10     Q Who from Blockchain Technologies.Corporation
11 haven't really neverseen.it. I.rriean; I think I                 11 --
i2 understand whatit is. But I've never see~this thing.             12     A Yeah.
13    Q Just to let:you-know --                                     13     Q -- worked:on the Synapse Foundation project
14    A Imean,-for a11--know; yau-made-tt►is~ttp. ~I~               14 -for which-~to~kchain -= for whioh-Blockchain
15 don't think So. Ithink it's actua113~ an invoice from            15 Technologies was paid?
16 Blockchain Technologies to the Synapse Foundation                16     A Who from -- who from Blockchain Technologies
17 where the Synapse Foundation paid for Blockchain                 17 Corp, worked on things that Synapse paid for? Idon't
18 Technologies to do some:vYork.                                   18 lrnow. Imean, notIdon't know. Idon't remember.
19           MR. GINSBERG: And Mr. Spanos is                        19 But --
20 pointing to Spanos Exhibit B.                                    20    Q Do you have any records that would refresh
21 BY MR: HEELER:                                                   21 your recollection as to who worked on it?
22    Q He is; and just to let you know that these                  22    A I'd have to go over Blockchain stuff, get
23 documents were prodµced by your counsel, so.                     23 someone to look at the Blockchain stuff, Blockchain
24    A Okay.                                                       24 Technologies stuff to look at that. Imean,Idon't
25    Q We didn't make anything up.                                 25 remember. For sure it was people. Idon't know.                       :~

                                                                                                            31 (Pages 118 - 121)
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                                                     Page 122                                                        Page 124
  1                 N.SPANOS                                     1                N.SPANOS
  2      Q Did you receive any --                                2 hundreds of people in the blogosphere -- not.
  3      A Or subcontractors. There's subcontractors,            3 blogosphere. On the Internet who had some opinion of
  4 right?uL.•ike•10.99s~which:have.~ Ianean;:you:have           4 what might should have hagpened. Designs.and talks
  5 1099s or whatever over there. Checks. There were             5 and arguments, you know. It's like a PTA meeting
  6 checks that were sent to you, right? Yeah. No?               6 online.
  7      Q Not in connection --                                  7    Q And who --
  8      A Huh?                                                  8    A, Without ritles. You know a PTA meeting?
  9      Q In connection with other things, yes.                 9 The PTA meeting --
 10      A Blockchain Technologies checks.. There are           10           MK. GINSBERG: Nick,just answer the
 11 no Blockchain technologies checks? So show me them          11 questions.
 12 and I'll tell you who did what.                             12           THE WITNESS: I'm sorry. I'm trying to
 13      Q In connection with the.Synapse Foundation?           13 explain it. He's asking me to like.give him some kind
 14      A Ifit's around the time ofthis bill, maybe            14 ofcorporate structure. It doesn't work that way.
 15 I'll remember it to recollect, to help me with my           15 BY MR. HEELER:
 16 memory. I mean, you're asking the things. I do a lot        16    Q Did you receive.any compensation in
 17 ofthings all day, different things. So it's, you            17 connection with this utility token generation
 18 know -- I'm not a -- I'm not sitting there standing         18 software?
19   over one project.                                          19    A No. Wait a second. Wait a second. No.
20         I've-got hundreds of projects. Mr:                   20    Q Did any company that you're affiliated with
21   Herskowitz over here probably wants a piece ofall of       21 receive any compensation?
22   them after he gave me $105,000 instead of$250,000.         22    A Yes.
23   And he probably wants my dead father's gas station         23    Q What company received compensation?
24   too. I run that also. Maybe he wants that.                 24    A Well, Blockchain Technologies.
25      Q Now that you made your point, are you ready           25    Q Any other entity with which you're
                                                     Page 123                                                 Page 125
  1                N.SPANOS                                      1                N. SPANOS
  2 to answer some quesrions?                                    2 affiliated with?
  3     A I don't even know what the question is.                3    A I don't think so. I don'tremember.
  4    Q Well,I will ask you.                                    4    Q Do you have any evidence of any payments
  5     A This same question? I don't know right now.            5 that were made to Blockchain Technologies --
  6 I would know ifI had more documents to help me               6    A Yeah. Right here: ~Rightin front of me.
  7 recollect. Ijust don't -- it's not sparking right            7           MR.GINSBERG: Let him finish the
  8 now. I'm sorry. These are nuanced things.                    8 question.
  9       I don't remember if it was a bounty. I                 9            Tf~ WITNESS: I'm sorry.
 10 don't remember. I don't remember three years ago.           10 BY MR.HEELER:
 11 You're talking about three or four years. I don't           11    Q -- in connection with the utility software.
 12 know. How many years ago was it7                            12 And that's -- you pointed to Exhibit B.
 13    Q In connection with the Synapse Foundation,             13    A Yes.
14   the ICO.                                                   14    Q Did you personally or any entity that you're
15      A I don't know. It's not an ICO. You know,              15 affiliated with receive any tokens in connection with
16   you keep saying ICO. It's not an ICO.                      16 the utility software?
17      Q What was it?                                          17    A Yes.
18      A There was a token generation that occurred            18    Q How many tokens did you --
19   which is a utility token which is software. So we          19    A I don't know. Do I have to answer that?
20   created software. You keep saying the word ICO. I          20            MR. GINSBERG: Let him finish the
21   don't know that. And I'm trying to answer you because      21 question.
22   I know you don't know that about the industry and          22           THE WITNESS: Keep going.
23   you're handicapped in that way. But --                     23 BY MR.HEELER:
24      Q When you say we, who are you referring to?            24    Q How many tokens did you or an entity that
25      A The everybody,the everybody. You know,                25 you're affiliated --

                                                                                                  32(Pages 122 - 125)
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                                                        Page 126                                                        Page 128
   1                  N.SPAN03                                     1                 N. SPA..NOS- "                                 r .;.
  2       A Five million:                                          2 You're asking a hypothetical. Mr. Spanos has just              i .,
  3             MR. GINSBERG: Nick, please give me                 3 testified that he:didn't receive it and he doesn't
  4 time.                                                          4 know which if any company did receive it.
  5             THE WITNESS: Look,the guy wants an                 5            MR.HEELER: He said someone did
  6 answer. I'm trying to help him out. I'm sorry.                 6 receive it. I want to know who.
  7 BY MR.HEELER:                                                  7            MR. GINSBERG: Do you know who received
  8       Q And who received it? You personally or an              8 it?
  9 -entity?_.__.                     --- --_ _.~_...~.____       -9 -    -- ~ THEWITNESS: I dott'tremember. But I
 10       A I don't remember. It's not me personally.             10 think it was --
 11       Q If it --                                ~ ,           11           MR.GINSBERG: I don't want you to
 12 ~ A And it -- huh?                                            12 speculate.
 13       Q ; If it was an entity, was it.Bl~ck~hain              13            THE WITNESS: Okay.
 14 Technologies that received the;5 million tokens?              14            MR. GINSBERG: You either:know or you
 15       A Most likely I think ifI remember.. Pdoin't-           15 don't remember.
 16 know. I don't remember.                                      •i6            THE WIT'NESSs I:don'tremember.
-1-7 -Q .-:I'dark-that-a-r~card-b~-laR-iu-~e-record: - --        -17-$~'-Mkt.-~sbbFI~-• ----~.,. _.
 18             MK. GINSBERG: Excuse me? .                        18 -'Q •Was itBlockchain Technologies Corporarion?
 19 ~ ~ -       Mkt. HEELER•. Arecord be left in the              19     A Excuse me?
20 record as'~to which entity received the 5 Million              20     Q Was itB(ockchain Technologies Corporation
21 tokens.                                                        21 that reoeived the 3 million tokens?
22              MR. GINSBERG: We've produced all of               ~2 A :I don't.remember. But I believe so. But I
23 the documents. Mr. Spanos~doesn't have the -- doesn't         23 don't remember.              ~ F
24 know the answer.: I'm not sure-.what"you're asking.           24      Q Like I said;you can check your records to
25              MR'. HEELER: There's an entity that              25 determine:whether or not Bloekchain Technologies
                                                                                                                    Rage 129
 1                N.SPANOS                                        1                 N. SPANOS
 2 received 5 million tokens.                                     2 received the 5 million token.
 3            TFiE WITI~1ESSr Yeah. I -believe --                 3           MR. GINSBELtGt I mean, we've already
 4            MR. GINSBERG: Stop it.                              4 checked the records. You've been -- you have been
 5            TME WI1'NE~S: Oh,:T'm sorry,                        5           MR.HEELER: And nothing.has been
 6.           MR.HEELER: 3n connection with the                   6 produced.
 7 utility software that was created -=                           7           MR.GINSBERG: Excuse me. Whatever
 8            MR. GINSBERG: Right.                                8 exists~has been.produced. We'll make another effort
 9            MR.HEELER: -- for Synapse Foundation.               9 if we have not done that. But I believe we have
10 And Mr. Spanos tesrified that he didn'tget it ` .             10 . produced everything that exists. I'm not sure how
11 personally and Blockchain Technologies Corp. did not          11 that relates tojurisdiction over the.Zap.org in any
12 get the.5 million tokens                                      12 event.
13            THE WITNESS: I didn't say that.                    13           1~~R. HEELER: =It does. Payment for
14-        ~ :MR. GINSB~RE~: -No: I~e:~lidn't say that.         -14 services~endered: Butthat's --
15 He said he doesn't know.                           +          15           h~IR. GINSBERG: Excuse me? I can't
16            THE WITNESS: I saidl don'txemember.                16 understand you.
17 BY MR. HEELER:                                                17           MK.HEELER: Payment for services
18    Q Okay. Assuming you didn't get it personally              18 rendered in New York if it was paid to Blockehain
19 and Blockchain Technologies did not receive the 5             19 Technologies Corporation. I think it may have a --
20 million tokens --                                            20            MR.GINSBERG: That's not how you get
ZI            MR. GINSBERG: Stop.                               21 jurisdiction over--
22 BY MR.FELLER:                                                22            MR.HEELER: There are many aspects.
23    Q -- what other entity would have received the            23            MR. GINSBERG;; Excuse me. That's not
24 5 million tokens?                                            24 the law. That's not how you getjurisdiction. The
25            MR. GINSBERG: Objection as to form.               25 law is very specific as to the bases for jurisdiction           ~..

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                                                      Page 130                                                       Page 132
  1               N. SPANOS                                         1               N. SPANOS
 2 over an organization or an entity. And that's not one           2      Q Did you have any meetings with Mr.
 3 ofthem.                                                         3 Herskowitz in New York?
 4 BY MR.HEELER:             -- =---,,.~,+~.y. ,;.~ - ..... .      _ , ...A ,Yes.~.«.....
                                                                   4                           ..,~.......,.......... ..
 5     Q Mr. Spanos,    did you  have any meetings with            5           MR. GINSBERG: Let him finish the
 6 any attorneys in the city of New York in connection             6 question.
 7 with the formation ofthe Synapse Foundation?                    7           THE WI'T'NESS: Oh,I'm sorry.
 8     A No.                                                       8 BY MR.HEELER:
 9     Q Did you have any meetings with any attorney               9      Q -- in connection with an entity to be
10 in New York in connection with the creation of                 10 formed in the Isle of Man?
1 1 Zap.org?                                                     11       A Yes.
12     A That would be acting as attorneys?                      12       Q When did you have those meetings, that
13     Q Did you have any meetings with any attorney             13 meeting?
14 in New York in connection with the formation of               14       A Oh,I --
15 Zap.org?                                                      IS           MR.GINSBERG: Wait, wait, wait, wait,
16     A No.                                                     16 wait. This is far afield from Zap.org. Unless -- I
17     Q Did you have any meetings with any                      17 mean,this has nothing to do with whether there was
18 individuals in New York in connection with the                18 jurisdiction over Zap.org.
19 formation ofZap.org?                                          19           THE WITNESS: Yeah. No. I can't --
20     A No.                                                     20 can I write something?
21     Q Did you have --                                         21           MR.GINSBERG: Na
22     A Wait, wait, wait. What'd you say?                       22 BY MR.HEELER:
23     Q In connection with the formation ofZap.org.             23      Q What was discussed in that meeting with Mr.
24     A Any individuals?                                        24 Herskowitz?
25     Q Any individuals in New York.                            25           MR. GINSBERG: Objection, unless there
                                                    Page 131                                                         Page 133
 1                 N. SPANOS                                   1                  N. SPANOS
 2     A Yeah. Zap.org is a website.                           2 was something relating to the presence ofZap.org in
 3     Q Okay.                                                 3 New York.
 4     A I corrected him.                                      4            THE WITNESS: Well, Mr. Herskowitz --
 5             MR. GINSBERG: Just answer --                    5 the meeting was Mr. Herskowitz was supposed to give me
 6             THE WITNESS: Keep my mouth shut?                6 $250,000 and he didn't. He only gave $105,000 many
 7             MR. GINSBERG: Just answer the                   7 years before. And he realized Ithink -- I don't know
 8 question.                                                   8 if he realized. But I think he realized that he
 9             THE WITNESS: I'm trying. But the guy            9 screwed up by not giving me all ofthe $250,000 those
10 is like --                                                 10  many years before.
11             MR. GINSBERG: Did you   have  any             11             So he befriended me and was walking
12 meetings in New York with anyone regarding the             12 around   with  me,telling me he was going to help me.
13 creation ofZap.org, yes or no?                            13 But what he was doing was trying to take an inventory
14 BY MR. HEELER:                                            14 of what I did in my life so he could riy to attach
15     Q You don't create a website?                         15 himselfto it and try to sue me for it. And then he
16     A I'm just saying. Probably.                          16 found the errors of his way.
17             MR. GINSBERG: No. Answer the question         17             So he wanted to get 200 -- he wanted to
18 about whether you had meetings in New   York about the    18  supplement    the $250,000. He wanted to pay the rest of
19 formation ofZap.org.                                      19 it that he didn't pay years before. And I said it
20            THE WITNESS: No.                               20 doesn't work that way.
21 SY MR. HEELER:                                            21             And there was a meeting about the
22     Q Did you have any meetings with any                  22 formation of a company. But it had nothing to do with
23 individuals in New York regarding the formation ofthe     23 Zap.org or the Synapse Foundation. It was something
24 Synapse    Foundation?                                    24  else at that time.
25     A No. I don't think so.                               25  BY  MR. HEELER:

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                                                      Page 134                                                          Page 136
  1                  N.SPANOS                                 1                N.SPANOS
  2     Q    Okay.                                            2           THE WITNESS: Just saying. All right.
  3     A To the best of my recollection. And because 3 I'm sorry. After you.
  4 ofthat meeting, because he didn't give me the money, 4 BY MR.HEELER:
  5 I didn't -- I'd been under the gun. Because he didn't     5     Q Are you familiar with an individual by the
  6 give me the rest of that money and put a UCC on my 6 name ofNick Allen?
  7 stuff, on all these people's things and he told me I      7           MR.GINSBERG: I'm sorry. I can't
  8 can't give the shares out to anyone. And I.had all        8 understand you.
  9-t~es~peopl~.- -I.1ost a lot of-people.-People went-on - °=9-BY-MIR.-~L~,-~~tr --- - - - `=- =       -
10 to do great things. But I couldn't bring them onboard 10         Q Individual by the name ofNick Allen.
11 with mine because he inhibited my ability to do           11     A I'm not sure ifthat's his name. But maybe.
12 business and •a really -- you know,I should be on top 12         Q Who are you tHinking of when you --
13 ofthe world. But instead I'm under Mr.Herskowitz's 13            A I don't know.
14 thumb. That's where I'm at. t           ~                 14.: . Q Is there aI~Tiek.Allen who you know is
15~~BY MR.HE~LLER: :~                ~                       15 associated with the Synapse Foundation?
16 :~~~ Q Anything else to~add?           ,.                 16     A There's someone who said his name was Nick
17.~~ ~;A.~:~h;~:got:alnt_pf hin s . I:have.--.--          .1.7-Allen.-stn-uot-sute~if~hat's-his-name..
18             MR.GIIdSBERG: No; no,~na ~                   1:8' ~Q . ~ Okay:Well,the individual.thatxefers'to
1:9...-        TIC WITNESS:-"--:huhdreds of ways --          19 himselfas Nick Allen,is that individual~associated
20 hundreds of places where ~I could $ave did something 20 with the Synapse Foundation?
21 and made something of myself with these things. Bu 21            A The individual who has had referred to
22 this gentleman over here has really'destrbyed me.        22 himself as'Niak~Allen.
23 BY MR.HEELER:                                            23      Q So is he~refarring to himself-- is the
24      Q Okay.                          - ..               24 individual who refers to himself as Nick Allen who
25 : A I'm a simple person. I d"on't know about all 25 says he's affiliated with the'Synapse Foundation, is
                                                      Page.135_                                                         Page 137
  1               N.SPANOS                                          1               N.SPANOS
 2 this stuff: This is the:first deposition I've ever              2 he authorized to associate himself with the Synapse
 3 been in in my life. And I don't know what all this              3 Foundation?
 4 stuff is. But I'm a victim. That was not Zap.org                4     A No. I don't think so.
 5 back then and it wasn't Synapse Foundation back then.           5           MR.HEELER: Unless you have anything
 6 It was another thing we ware --                                 6 else,I don't have anything else.
 7            MR. GINSBERG: There's no question                    7           MR. HERSKOWITZ: I'd like to talk a few
 8 pending.                                                        8 minutes.
 9           THE WITNESS: Just saying. It was some                 9         ' MR.HEELER: You want to give them 10
10 other organization name or something.                          10 minutes?
11           MR.GINSBERG: There's nothing pending.                11           COURT REPORTER: Going offthe record?
12           TIC WITNESS: And people stole the                    12           MR.HEELER: Yes. Offthe record.
13 names. It's crazy..                                            13           COURT REPORTER: Going offthe record.
14 BY MR.-HEELER:                                -                14 The time now is i:37 p.m.
15    Q I'm just going to see ifI have a few more                 15          (Offthe record:)
16 questions and then we'll be done. I'm not sure ifI             16           COURT REPORTER: We're back on the
17 asked you --                                                   17 record. The time now is 1:43 p.m.
18     A I'm going to tutor some people later. And                18 BY MR.HEELER:. .
19 I'm wondering if --                                            19    Q Do you know of anyone who is promoting the
20           MR. GINSBERG: Nick --                                20 technology ofZap.org?
2t           THE WI1TiESS: -- Ihave to give a                     21    A Yeah. A lot ofpeople.
22 percentage to Mr. Herskowitz.                                  22    Q Are you one ofthose individuals promoting
23           MR. GINSBERG: Nick, stop.                            23 the technology ofZap.org?
24           MR.HILLER: Anything else?                            24    A Explaining the technology if someone asked
25           MR. GINSBERG: Stop.                                  25 me. I mean, if you asked me right now,I'll explain

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                                                     Page 138                                                                 Page 140
 1                 N. SPANOS                                     1                N. SPANOS
 2 it to you.                                                    2 Young given tokens as well?
 3     Q Other than you, you say a lot of people.                3    A I think so. Yeah.
 4 Who's promoting the technology? •,                            4    Q Do you recall --               ~ i
                                                                                                  ...,.,,~,,.,,,,,, _~,,,,.,.
 5     A Yeah. There's -- well, I don't know.                    5    A    I don't know  how   many.
 6 People who maybe have bought the softwaze and want to         6    Q Do you know what the reason was for Ben
 7 resell it for more money or want to explain it to             7 Young getting tokens?
 8 people. So there's media articles. There's stuff              8    A Well,I don't know. Sometimes they give
 9 going that hasn't -- there's no control over it,              9 tokens to get everyone on board, to get people on
10 centralized control.                                         10 board. So I'm not sure. This guy's been going all
11     Q So are there any specific individuals                  11 day.
12 authorized by the Synapse Foundation to promote the          12           MR. GINSBERG: I don't want you to
13 software ofZap.org, to promote the technology?               13 guess. What?
14     A I'm not sure. At this moment?                          14           THE WITNESS: So you've been having to
15     Q At this moment.                                        15 like write on that pad all day and I can't?
16     A Yeah. I'm not sure.                                    16           MK. GINSBERG: Mm-hmm.
17     Q Has there anyone, to your knowledge, been              17           THE WITNESS: That's ridiculous.
18 engaged as far as being compensated to promote the           18 BY MR.HEELER:
19 technology ofZap.org?                                        19    Q Well, if you write on the pad, then I can
20     A In what timeline again?                                20 look at. So I don't think you want that.
21     Q From the time that the Synapse Foundation              21    A Oh,I don't care. What am I going to write?
22 was created to date.                                         22 The only thing Iwrote --
23     A Okay. Yeah.                                            23    Q Do you know if Eric Dixon received tokens?
24     Q Who has been paid to promote the technology            24    A Probably.
25 ofZap.org?                                                   25    Q You know how much?
                                                     Page 139                                                      Page 141
  1                N. SPANOS                                     1                N. SPANOS
 2     A Well, I'm not sure of every -- I'm not sure.            2     A I don't know. I'm not sure if he received
 3     Q Well, who do you know?                                  3 tokens or not. I don't know. I mean,I don't know if
 4     A All right. So there's a guy doctor                      4 I know. Yeah. I don't know. Was I privy to the
 5 something. Here's doctor. Charbovich or something. 5 amounts? Maybe at one time.
 6 Adrian. He's alast -- he's an Armenian.                       6    Q Who would have records of the amount of
 7     Q Okay.                                                   7 tokens that are given out to various individuals?
 8     A I'm sorry. I always do that.                            8     A It's on the wallets. It's on the computer.
 9 Theoretically, you know,    depending  on  the  bounty,   if  9 You  can look at it. It's all open source.
10 there were bounties for stuff, whoever fulfilled     the     10    Q    Okay. Is there anyone currently receiving
1 1 requirements ofthe bounty.                                  11 tokens for the promotion ofZap.org, the technology?
12     Q Have you personally been paid to promote the 12              A I don't know. Probably. Maybe. There's
13 technology of Zap.org?                                       13 some bounties I think that are still floating around.
14     A Well, like I said, I got that 5 million Zap            14    Q I have no further -- anyone hired to do
15 sent to either this company   which  Ibelieve   -- I         15 tradeshows  to promote the technology ofZap.org to
16 believe -- I don't -- I'm not sure which --  but  not me     16 your knowledge?
17 personally. I think it went here.                            17    A No.
18     Q But --                                                 18    Q Do you know if anyone, to your knowledge,
19     A I've got to check the wallet.                          19 has been hired to do events for Zap.org, to promote
20     Q But the 5 million tokens was for promoting             20 the technology ofZap.org?
21 the technology ofZap.org?                                    21    A Events?
22     A Whatever.      Whatever.   Whatever   I can   give to  22    Q   Yeah.
23 the project, meaning whatever    I can do for  the  project  23    A   I don't think so.
24 that I'm allowed to do.                                      24    Q   Any  PR companies hired? Who makes the
25     Q Was Ben Young or an entity owned by Ben 25 decision to hire individuals to promote the technolog 1,
                                   -- -                                            -          -     ----                 -
                                                                                                       36(Pages 138 - 141)
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                                                               Page 142                                                        Page 144
       1                 N.SPANOS                                            1               N. SPANOS                                    i"~'~:~.
       2 ofZap.org7                                                          2          MR. GINSBERG: I'll get back to you.
       3     A Listen, it's like who makes the decisions --                  3          COURT REPORTER: Okay. You're getting
       4 say that again.                                                     4 something or you're getting it from him?
       5     Q Who --                                                        5          MR.GINSBERG: I'll --
       6     A Yeah.                                                         6         MR.HEELER: Whatever we --
       7     Q -- on behalf ofthe Synapse --                                 7          MR. C.RINSBERG: I'll let you know.
       8     A Okay.                                                         8          MR.HEELER: We'11 figure it out.
_ __ ...~.--Q The~ynaps~organizat~on -- _.- - --                            -9    -- --C-0L~R3'I~EPOI~T-ER:-Okay. We're-going off
      10    A Yeah:                                                        10 the record. The rime now is 1:51 p.m.
      11    Q The Synapse Foundation makes the deoision as                 11           (Signature Reserved.)
      12 to who on behalfofthe Synapse Foundation promotes                 12          (Whereupon, at 1:51 p:m., the
      13 the technology ofZap.org for pay?                                 13          proceeding was concluded.)
      14    A Well, it's all bouritied out.` So I don't                    14
      15 know,_ floating azound. I don't think there's --                  IS
      16 there's -- I don't -- I don't know. I don't think so.             16             MKOLAOS SPANOS
     171_sion~_think_anynne's_geiting.paid: _                             .la.
      18    Q Okay.                                                        18 Subscribed and sowrn to before me this
      19    A: - I'm not sure.-.But I don't think so. It's                 19            day of                      , 2020.
     20 all the~community.now.                                             20
     21 .Q Okay.~ I have no --                                             21
     22     A I believe. If someone's got a hundred                        22
     23 dollazs'-worth or something, you know,thaYs what                  23           NOTARY PUBLIC
     24 we're talking about here.                                         24
     25     Q Mm-hmin.                                                    25                                                 a
                                                     Page 143 ~                                                           Page 145
    1                 N: SPANOS                                   1             CERTIFICATE OF NOTARY PUBLIC
   2     A Because they wrote an article, they got $50            2        I, KEl*1NETI3 KATZ,the officer before whom the
   3 worth ofZap tokens because it was bountied maybe i; 3 foregoing proceedings were taken, do hereby certify that
   4 the bounty's still laying there. I'm not sure. I'm           4 any wimess(es)in the foregoing proceedings, prior to
   5 not sure. Personally I'm not sure.                           5 testifying, were duly.sworn; that the proceedings were
   6     Q Okay.                                                  6 recorded by me and thereafter reduced to.typewriting by a
   7     A Could I;find out? I could.probably find                7 qualified transcriptionist; that said digital audio
   8 out. But I don't know offthe top of my head.                 8 recording.  ofsaid proceedings are a true and accurate
   9     Q I only want to know what you know.                     9 record  tq the best of my knowledge, skills, and ability;
  10     A .That's what I know, not much.                        10 that I am  neither counsel for, related to, nor employed by
  11     Q ;No problem.                                          11 any  of the parties to the action in which this was taken;
                                                                 12 and,further, that I am not a relative or employee ofany
  12            NIR. GINSBERG: We'd like to sign and
                                                                 13 counsel or attorney employed by the parties hereto, nor
  13. read it.
                                                                14 financially or otherwise interested in the outcome ofthis
  14            MR:I~LLER: -Exeuse me?
                                                                 15 action.
  15            MR.GINSBERG: We'd like to read and
                                                                i6
  16 sign it, the transcript.
                                                                 t7
  17            MR.HEELER: Yeah. Read and sign.
  18 Well, if he's going to read it.                            lA
  19            MR.GINSBERG: I'll read it to him.               19            KENNETH KATZ
  20            THE WITNESS: I have a reader.                   20           Notary Public in and for the
  21            COURT REPORTER: Just the transcript             21           State ofNew York
  22 order, you have original plus two on the portal. Is        22
  23 that what you'd like?                                      23 [X]Review ofthe transcript was requested.
  24            MR.HEELER: Yeah.                                24
  25            COURT REPORTER: And --                         25

                                                                                                           37(Pages 142 - 145)
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                                                          Page 146                               i
  1            CERTIFICATE OF TRANSCRIBER
  2       I, BENJAMIN GRAHAM,do hereby certify that this
  3 transcript was prepazed from the digital audio recording of
  4 the foregoing proceeding, that said transcript is a true
  5 and accurate record ofthe proceedings to the best of my
 6 knowledge, skills, and ability; that I am neither counsel
 7 for, related to, nor employed by any ofthe parties to the
 8 acrion in which this was taken; and, further, that I am not
 9 a relative or employee ofany counsel or attorney employed
 10 by the parties hereto, nor financially or otherwise
 11 interested in the outcome ofthis acrion.
 12
 13
 ~4        ~J
             "C:~
 15
 16             BENJAMIN GRAHAM
 17
18
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21
22
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25
                                                          Page 147
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 5    DATE OF DEPOSITION: 3/9/2020
 6    PAGE LINES) CHANGE             REASON
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 13 ~
 14 _~             ~
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 16 _~             I
17 _~              I
~8
19 _I
Zo _I
21
                       NIKOLAOS SPANOS
22
   SUBSCRIBED AND SWORN TO BEFORE ME
23 THIS_DAY OF           ,202_.
24

25 (NOTARY PUBLIC)            MY COMMISSION EXPIRES:

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                  Federal Rules of Civil~Procedure

                                  Rule 30




     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     d eponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     T he officer must note in the certificate prescribed

     b y Rule 30(f)(1) whether a review was requested

     a nd, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    T HE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    O F CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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